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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


 KUECKER LOGISTICS GROUP, INC.,                )          CASE NO: ________________
                                               )
       Plaintiff,                              )
                                               )
                    v.                         )   COMPLAINT AND DEMAND FOR JURY
                                               )     TRIAL IN OMAHA, NEBRASKA
 GREATER OMAHA PACKING CO.,                    )
 INC.                                          )
                                               )
        Defendant.                             )


       COMES NOW Plaintiff, Kuecker Logistics Group, Inc., and for its Complaint against

Defendant, states and alleges as follows:

                                        INTRODUCTION

       Kuecker Logistics Group, Inc. seeks a judgment against Greater Omaha Packing Co., Inc.

for breach of contract and to foreclose a valid construction lien filed in Douglas County,

Nebraska, arising from Greater Omaha Packing Co., Inc.’s failure to pay Kuecker Logistics

Group, Inc. $2,972,622.19, plus contractual interest under a contract for installation of a

Warehouse Execution System.

                                            PARTIES

       1.      Plaintiff, Kuecker Logistics Group, Inc. (“Kuecker”), is a corporation organized

under the laws of the State of Missouri, whose principal place of business is 801 W. Markey

Road, Belton, Missouri 64012.

       2.      Defendant, Greater Omaha Packing Co., Inc. (“GOP”), is a corporation engaged

in meat production and organized under the laws of the State of Nebraska, whose principal place

of business is 3001 L Street, Omaha, Nebraska 68107-0000. GOP may be served with process



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through its Registered Agent, Mark Theisen, 3001 L Street, P.O. Box 7566, Omaha, Nebraska

68107.

                                  JURISDICTION AND VENUE

         3.      This Court has federal diversity jurisdiction pursuant to 28 U.S.C. § 1332 over

this Complaint because there is complete diversity and the matter in controversy exceeds the sum

of $75,000.00.

         4.      Venue is proper in the District of Nebraska pursuant to 28 U.S.C. § 1391 because

it is a judicial district in which Defendant resides; in which a substantial part of the events or

omissions giving rise to the claim occurred; and in which a substantial part of the property that is

the subject of this action is situated.

                                    FACTUAL BACKGROUND

         5.      Plaintiff Kuecker is an end-to-end supply chain execution and services provider,

which includes operational analysis and systems engineering.

         6.      One such service provided by Kuecker is the installation and maintenance of

equipment and software utilized by shipping warehouses.

         7.      Defendant GOP is an owner of real property located in Douglas County, Nebraska

(the “Property”), which is legally described as follows:

                 Lot 2, Stockyards Business Park Replat 1, an addition to the City of Omaha, as

                 surveyed, platted and recorded in Douglas County, Nebraska.

         8.      The Property, among other functions, acts as a shipping warehouse owned and

operated by GOP.




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    A. The Agreement

        9.      Kuecker and GOP entered into three (3) contracts (collectively the “Agreement”)

whereby Kuecker agreed to install a Warehouse Execution System (“Execution System”),

including software used to utilize the Execution System, at the Property. The three (3) contracts

constituting the Agreement are attached as Exhibits 1, 2, and 3.

        10.     Kuecker delivered materials, installed equipment and software, provided

maintenance and service, and in all other ways materially performed as provided in the

Agreement.

        11.     GOP has failed to pay Kuecker a portion of the contracted funds in the amount of

$2,972,622.19, which includes the principal balance plus contractual interest through July 31,

2020. The contractual interest of this amount continues to accrue.

        12.     Kuecker has made demand for payment in full of the amounts due under the

contract.

        13.     GOP has failed and refused to pay in full the amounts due under the contract.

        14.     Interest on the amounts owed continues to accrue. In each contract of the

Agreement, the Delayed Payments Clause states:

                Article 17 Delayed Payments:

                In the event that Purchaser fails to make due and punctual payments for the
                equipment and/or Work as provided herein, interest shall accrue on the amount
                due and unpaid at the rate of one percent (1%) per month for each full calendar
                month or part thereof during which such amount shall be outstanding, such
                interest to commence to accrue on the fifteenth (15th) day after such amount is due
                and payable hereunder. If the interest rate provided herein exceeds the maximum
                interest rate permitted by law, then the interest payable shall be at such maximum
                permissible amount.

See Exhibits 1 at p. 27, 2 at p. 20, and 3 at p. 18.




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   B. Software Installed in the Management System

       15.     The Execution System installed by Kuecker consists of two (2) parts: a

Warehouse Control System (“Control System”) and a Warehouse Management System

(“Management System”).

       16.     A dispute arose as to the performance of the software developed and installed by

Kuecker with respect to the Management System. The software was designed to allow GOP to

optimize the equipment of the complete Execution System.

       17.     The software delivered by Kuecker meets the purpose of the design under the

Agreement and is capable of optimizing the Execution System as intended.

       18.     Upon information and belief, GOP claims it encountered problems it attributes to

the software installed by Kuecker.

       19.     GOP’s problems with the software delivered and installed by Kuecker are the

direct result of GOP’s failure to replace its in-house network.

       20.     Prior to installation of the software, Kuecker informed GOP that the GOP in-

house network would need to be replaced for the software to perform as expected.

       21.     GOP agreed to replace and verify its in-house network.

       22.     Throughout installation and in subsequent communications, Kuecker repeatedly

brought to GOP’s attention the issues caused by its in-house network, but GOP failed to make

the necessary changes.

       23.     Upon information and belief, GOP claims that the software installed by Kuecker

is defective in that it requires an employee of GOP to enter data to perform its function.

       24.     The Agreement does not require Kuecker to install or maintain software which

would constitute artificial intelligence, neural networks, machine learning, “thinking” computer



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systems, or any other software or process which would not require direct input of data from a

human being.

                                FIRST CAUSE OF ACTION
                                    Breach of Contract
                     Against Defendant Greater Omaha Packing Co., Inc.

       25.     Kuecker, for its first cause of action against GOP, incorporates the foregoing

paragraphs as if fully set forth herein.

       26.     Kuecker and GOP entered into the Agreement through which Kuecker agreed to

provide material and perform services at the Property.

       27.     Kuecker performed the services and provided the materials for which the parties

contracted, and GOP accepted the services and materials.

       28.     GOP has breached the Agreement by failing, neglecting and refusing to pay

Kuecker the remaining amount due.

       29.     As a result of GOP’s refusal and failure to pay Kuecker, Kuecker has been and

continues to be damaged in the amount of $2,972,622.19, together with interest accruing as

provided by the Agreement.

       WHEREFORE, Plaintiff prays for judgment in its favor and against Defendant on its

First Cause of Action for breach of contract in the amount of $2,972,622.19, further awarding

Plaintiff interest thereon and its costs and fees incurred pursuant to the Agreement, and for such

other and further relief as this Court deems just and proper.




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                              SECOND CAUSE OF ACTION
                              Foreclosure of Construction Lien
                     Against Defendant Greater Omaha Packing Co., Inc.

          30.   Kuecker, for its second cause of action against GOP, incorporates the foregoing

paragraphs as if fully set forth herein.

          31.   GOP is the contracting owner of the Property pursuant to Neb.Rev.Stat. § 52-

127(3).

          32.   The Agreement is a real estate improvement contract as defined by Neb.Rev.Stat.

§ 52-130(1).

          33.   Kuecker installed the Execution System and provided materials and related

services on the Property for which Kuecker was not paid in full.

          34.   The last date services or materials were furnished or performed was

approximately February 22, 2019.

          35.   On June 19, 2019 and within 120 days after the last services were performed

and/or materials were provided, Kuecker recorded the construction lien with the Register of the

Deeds in Douglas County, Nebraska against the Property at Instrument #2019044825 in the

amount of $2,972,622.19 representing the remaining amount due under the Agreement plus the

accrued interest as of the date of filing. As interest continues to accrue, the current amount owed

is $2,972,622.19.

          36.   By virtue of the fact that GOP has failed to pay the full amount due and owing to

Kuecker, Kuecker is entitled to foreclose on its construction lien for the balance of

$2,972,622.19, together with interest accruing thereon, costs of this action, and such other relief

in accordance with law and equity.

          WHEREFORE, Plaintiff prays for judgment as follows:



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        a.      That Plaintiff be declared to have a valid lien on the property;

        b.      For judgment declaring the priority and paramount status between the

        construction lien and all other interest in the Property;

        c.      For judgment against Defendant for the total sum of $2,972,622.19,

        together with interest accruing thereon, costs of recording the construction lien,

        and all other court costs in this action;

        d.      That Defendant be ordered to pay Plaintiff all sums due and owing and

        that Defendant will be in default of such payment if it is not received within

        twenty (20) days from the entry of judgment;

        e.      In the event of such default, an order that the above-described Property (or

        such portions as Defendant designates) be sold either by the sheriff of Douglas

        County, Nebraska, or by a special master appointed by the court, and the proceeds

        be applied to satisfy the judgment subject only to any superior claim or interest

        adjudged by the Court;

        f.      That in the event of such sale, that all junior interest in the Property,

        including that of Defendant, be foreclosed of all right, title, interest, and equity of

        redemption in and to said property and that a writ of assistance be issued directly

        to the sheriff of Douglas County, Nebraska, to place the purchaser at the aforesaid

        sale in possession of such premises; and

        g.      That Plaintiff receive its costs expended herein and for such further and

        other relief as equity may require.




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                                THIRD CAUSE OF ACTION
                                      Unjust Enrichment
                     Against Defendant Greater Omaha Packing Co., Inc.
                          (In the Alternative to Breach of Contract)

       37.     Kuecker, for its third cause of action against GOP, incorporates the foregoing

paragraphs as if fully set forth herein.

       38.     Kuecker conferred upon GOP a significant and material economic benefit in the

nature of work and services performed under the Agreement.

       39.     Upon information and belief, GOP knew or should have known that Kuecker had

a reasonable expectation of payment for the services, materials, labor and equipment provided.

       40.     GOP has received, accepted and benefitted from the services, materials, labor and

equipment provided by Kuecker in an amount not less than $2,972,622.19.

       41.     Kuecker has not been paid for the services, materials, labor and equipment

provided.

       42.     It would be inequitable and unjust for GOP to retain the benefit of Kuecker’s

services, materials, labor and equipment without making restitution for the full value of

Kuecker’s improvements to the Property.

       WHEREFORE, Plaintiff prays this Court enter judgment against Defendant on its Third

Cause of Action for an award of damages suffered and sustained by Plaintiff in the amount of no

less than $2,972,622.19, further awarding Plaintiff interest thereon and its cost and fees incurred,

and for such other and further relief as equity may require.




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                                          JURY DEMAND

         Plaintiff Demands a Jury Trial on all issues triable to a jury under the law.


                                      LOCATION OF TRIAL

         Plaintiff requests that trial be held in Omaha, Nebraska.


         DATED this 31st day of July, 2020.



                                        KUECKLER LOGISTICS GROUP, INC., Plaintiff,



                                        BY:    /s/ Brian J. Brislen
                                               Brian J. Brislen, #22226
                                               Craig F. Martin, #21812
                                               Andrew R. Wilkinson, TX #24093370
                                               LAMSON DUGAN & MURRAY LLP
                                               10306 Regency Parkway Drive
                                               Omaha, NE 68114-3743
                                               Tel: 402-397-7300
                                               Fax: 402-397-7824
                                               bbrislen@ldmlaw.com
                                               cmartin@ldmlaw.com
                                               awilkinson@ldmlaw.com




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                               EXHIBIT        1
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                                            For:

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                                'l




                            Box Storage System
                                Omaha, NE
                                         Submitted to
                                          Angelo Fili

                                     Proposal #8214 Ro

                                         May 3,2017

                                      Prepared By:
                               Jim Kuecker (816) 331-7070
                            Brandon Fosbinder (816) 331-7070

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                                  Non-Disclosu re Agreement
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       May 3,2017


       Mr, Angelo Fili
       Executive Vice President
       Greater Omaha Packing Co. Inc
       3001 "L" Street
       Omaha, NE 68107




       Dear Mr.     Fili,

       Thank you for the opportunity to work with Greater Omaha Packing Co. on this evaluation and
       feasibility of a Box Storage System and distribution operation for the Omaha, NE facility.

       The following is an update to the proposal and pricing based upon the Engineering Phase 1 of this
       project. We will in the following days be providing the full analysis for the box optimization, spec
       document, and description of operation.

       We feel this effort has resulted in some excellent opportunities for Greater Omaha Packing Co. to
       improve their operation. The concept detailed in this document is easily justifiable and if
       implemented will give Greater Omaha Packing Co. a great deal of flexibility and a more efficient
       system moving forward.

       We are looking forward to helping Greater Omaha Packing Co. take the next step in this process

       Sincerely,



         {fir*"
       Jim Kuecker
       VP System Sales




                            rage   System Page 2131                @   Kuecker Logistics Group
       Omaha, NE
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        7 lntroduction to Kaecker
   1.1 About Kuecker Logistics Group
   Since 1980, Kuecker Logistics Group, Inc. (KLG) has specialized in providing innovative solutions to suit our
   clients' needs for integrated material handling systems.

   KLG's experience is founded on the right cornbination of people and equipment. We offer the most
   technologically advanced product lines to provide the best in perfonnance, quality and safety.

  In addition, we take pride in our ability to establish a close relationship with our clients. KLG as a company
  makes a committnent to honor our promises, fulfill our customers' requests, finish the job on time, and offer
  continued professional supporl.

  Our services include operational analysis and systems engineering as well as furnishing pre-engineered
  products or KLG's custom-fabricated products. We will install your system, manage your project, and
  provide all ofthe training and staft up assistance that you require.

  Our experience enables us to handle any type of challenge from multi-million dollar fully integrated systems,
  to retrofitting existing systems, to providing sirnple equipment requirements.




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       1.2 Project lnformation
       Project    name:         Greater Ornaha Packing Co.                 -   Facility Box Storage System
       Project    number:       8214 R6



       1.3 Gontact lnformation
       For infonnation regarding this project please contact:

       Narne:                  Kuecker Logistics Group

       Contact:                 Jirn Kuecker - VP Systems Sales
       E-rnail:                jirn@kuecker.com

       Contact:                Brandon Fosbinder * Director of Concepting and Estimation
       E-mail:                 brandon@kuecker.corn

       Contact                 Daryl Bush
                                        - Project Manager
       E-rnail:                dbush@kuecker.corn

       Tel                     (816) 33t-7070
       Fax                     (816) 331-7888


         1.3.1     Customer Site lnformation
       Name:                   Greater Ornaha Packing Co. Cornpany
                               3001 "L" Street
                               Omaha, NE 68107

       Contact:                Mr. Angelo Fili
       Phone:                  402-731-1700
       Ernail:                 angel o @gr   e at   erorn ah   a. c   om

         1.3.2 Abbreviations
       KLG                     Kuecker Logistics Group
       GOP                     Greater Ornaha Packing Co.




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       2 Goals of the Presentation
   Included in this presentation are concepts KLG has been working on for the Omaha, NE Facility Box Storage
   Systern(s).

   Our intent is to show you what we have colne up with at this time.

   Some of the concepts go beyond your request for design and hardware changes. We have been pursuing solne
   altemate layouts as the final systelx design must rneet Greater Ornaha Packing Co.'s Storage, throughput rate,
   financial, and least arnount of risk during irnplementation requirements.

   Included in this presentation is the following concept:

  Carousel System with 16 Lane Accurnulation Deck and Palletizing System
  Future Unit Load ASRS w/ Shuttle System




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       3 New Concept for Consideration
   3.1 Basic Design process
   The first step, when considering investing in a new/retrofitted automated material handling systern, is to
   realize that the systern will totally change the warehouse operation.

   When designing an automated systern, the first objective is to establish the optimal size of the system and the
   appropriate sub-systerns. Both need to facilitate and enhance any requirements in the nomal operation of the
   warehouse. Size absolutely does matter, when we are talking about a system you want to operate at the
   highest efficiency with the lowest cost. Too srnall will simply result in extra operational cost or
   "bottlenecking" the system; too big is just a waste of money.

   In consideration of the before mentioned philosophy KLG has developed the following concept based upon
   the infonnation provided by Greater Omaha Packing Co. The following infonnation will describe in detail
   how the conceptual design will work.




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   3.2 Garousel System Design parameters
   KLG submits the following for consideration          as design solutions   for the Greater Omaha Packing Co
   -   Omaha, NE Distribution Center:

   Base Svsfem with (201 Quad Carousel Sfacks;




  Intelligrated Conveyor System
  Carousel Sorter and Accumulation Deck Sorter
  Autornatic Palletizing System
        o   Palletizer, Stretch Wrapper, Corner Wrap Print and Apply
  Allen Bradley Control System
  (20) Quad Carousel Stacks    (55,680) box locations
                                -
  FutureFreezer ASRS w/ Shuttle System -(2,970) pallet locations
  Catwalk Structures for Maintenance Access to Critical Areas
  (1) WMSAMCS perKLG Specification
  Future Storage Racking - 5 high (1,060) pallet locations
        .Cooler Staging/Ground Beef
                o4 & 2 Deep Pushback (940) pallet locations
                o Single Deep Selective (i20) pallet locations




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       3.3 Gase Sizes


                         DC    23        14 t3/76 8 Ls/76               s6-33-s6    44ECI       K   c       ok          #1 used fab box - glued box
                         DC    23        t4 t3h6       7 r/4            69-40-69    4    ECT    K   c       ok        #1 used export box - glued box
                         DC   24 3/4     18 7/8            9            69-26-69    44ECT           c       ok       Large Fab - least used - glued box
                         DC   17 r/2     IT    3/8         5            35-26-3s    32ECT            c                   Clam shell - strapped   **

       **Steak box will need to be changed
                                           to a glued box to be accepted into the Single Box Storage System




                         DC   22 3/4 16 ru76 7 rs/76                    55-33-56    4AECT       K   c       no             Clam shell - strapped
                         DC    L7 712     tL 3/8           6            35-25-35    32ECT           c       no             Clam shell - strapped
                         DC    23       14 73/L6 8      rslt6           56-33-s6    44ECI       K   c    not dav L              glued box
                         DC    23       1,4 1,3/16     7 714            69-40-69    44ECT       K   c    not dav 1              glued box




                         DC   22 314      9 Sl8            3            42-26-42    200#        K   B      NA              Clam shell - strapped
                         DC    15         10               4            3s-26-42    32ECT       K   B      NA             Clam shell - strapped
                         DC    18         12           4 t/2            35-26-42    32ECT       K   B      NA             Clam shell - strapped
                         DC   17 3/4     \s rh6 4 s/8                   35-26-3s    32ECT       K   c      NA             Clam shell - strapped
                         DC   lt    slrc 14 rl4        5       7/8      35-26-35    32EC\       K   c      NA             Clam shell - strapped
                         DC   21.6875    t5    9/76   6 L/t6            42-33-42    200#        K   B      NA             2-piece box - strapped
                         DC   2t t/2      L6               6            56-36-s6    44ECI       K   B      NA             2-piece box - strapped
                         DC   22 7176 \s rh6           7 1,/4           3s-26-35    32ECT       K   B      NA             2-piece box - strapped
                         DC   21 7/8 74 7/8            7 r/4            56-36-56    44ECT       K   B      NA             2-piece box - strapped

                        HSC   45         38           42             42-30-42-30-69 61         K    BC     NA                Combo          e




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       Omaha, NE
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        Entire System   - Full Site:
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   Future Freezer Storage:

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         Base Svsfem Cold Sforage,'


              64LPli6




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           Base Svsfem CarouselSfacks;




           Base Svsfem Accumulation Deck and Palletizina Area:
EPOOM




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        Base Svstem Elevation View:




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       65ft clear over carousels
       35ft clear over accumulation deck and palletizing area




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   3.4 Provided by Greater Omaha Packing or General Gontractor
        All building, Civil, floor   and foundation and construction works
        Any subrnission to the local authority and approval.
        Spare-par1s and preventive rnaintenance after the operational staft-up.
        All sprinkler system requirements
        Main power supply (MCCs) / VFDs
        Main power supply to ancillary devices (i.e. stretch wrappers, palletizers, etc.) and control panels
        Main network drops/switches, etc,
        In plant offices and restroom
        Applicable Sales & Use Taxes & Permits




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   4 Return on lnvestment (ROI) Analysis
  4.1      ROI numbers/highlights of system
      4.1.1      Highlights
      l)      Reduction of box damage
      2)      Reduction of leakers
      3)      Ergonomics
      4)      Reduction of Work Comp claims
      s)      Box Optirnization - Increase margins on single box selectivity
      6)      Customer Service
      7)      Reduction in Training
      B)      Safety
      e)      Reduction in Forklift Equiprnent vs. old systern
      10)     Size of Existing Building vs. New Building
      11)     Other uses for old Box DC
              -   Possible Ground Beef Production


      4.1.2 System Manning (Preliminary) - Gooler/Fresh Side
      .NOTE: Freezer is separate TBD (Outside 3PL)
                                -
      1)      4 people per shift - palletizing and loading trailers with forklifts
      2)      2 technicians per shift - utilize existing staff also for maintenance
      3)      I person per shift - hand (Rework) line
      4)      Total of7 people for year I

  Supervisors were not included in our total

  Other Notes:

      1)      2,400head a day rnaximurn production
              a.   6.5 boxes per head average
              b.   l5 hours production
              c.   15,600 Boxes per day
              d.   1,040 Boxes per hour
              e.   17.33 Boxes Per Minute   -   Average Capacity (Overall System Throughput)
     2)       Conveyor System
              a. Average Capacity (Overall System Throughput) 17.33 boxes per rninute
              b. Maxirnum Capacity - 34.67 boxes in and 34.61 boxes out per rninute (total of 70 boxes per
                  minute)
              c.  Rated Capacity (Machine Rate) - 80 BPM
     3)       Palletizer (ea)
              a. Average Capacity 15-17 boxes per rninute
              b. Maximurn Capacity - 24 boxes per minute
              c. Rated Capacity (Machine Rate) - 30 BPM
     4)       Singie Box Storage System
              a.  Sustained Rate - Variable pending box location in system


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                 b.  Machine Rate 3 Dual Cycles Per Aisle/stack
                         i. 20 Aisles/Stacks : 60 Dual Cycles Per Minute
           s)    2,080 per hour Dual cycle
           6)    15 hours   x 2,080 :31,200,11 hours x 2,080 :22,880,9 hours : 18,720,7 houn :14,560




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                         4.2              ROI System Design Spreadsheet
                                 4.2.1 Carousel System Design ROI (Based on 20 stacks)
                                                                        ROI     yllorkhe€t for Automated Box Storaq€ Svstem - Ca.ilsl                    Deslqn
                                                                                                          Svstem         End of                            End of            End of             End o{                 EISJL              E!.d-el           E!!il
                                  New Svstem Hardware Costs

Budqehrv eslimate ot material handlinq cost (includino Freezer AsRs)                                           s 22.756.3A2


                                     Btrdqebrv Costs Tohl                                                      s ,).7   86.3A2
                               Existinq Svstem Personnel Costs
                                                                                                                                                                                                                 s         36.692
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                                                                                                                                  $                                                                              S         u4.642 s           730 379   s      a27 520
                                                                                                                                  3                  $      1,181.946    s   1.339-14      s     1 -517   251    s     I   719 M5 s       1A767A        s

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                                      Rgdqclion in aox Damase                                                                     $                  s                                                                                                  $
                                                                                                                                  $                  s                   s                                                          s
                                                                                                                                                     s                   s                 $                     s

                                          Box Optimization                                                                                                                                                       $     6.240.000    s     6 240 000     s    6 ?40 000
                                                                                                                                  $                  $                   s                 $
                                14|   Tmiler3 in Yard ll.e. floateBl                                                                                                                       MD                    TBD                TBD
                                       Reduction in Traininq                                                                                                             $                 $                     s                  s                   $
                                                Safetv                                                                                                                   $                 s                     $                  $
                                Reduction in Forklift EouiDment
                                                                        TOTAI SAVTNGS PFR YFAF                                    s    a   arl olo                       $                 t                     $     s.096.8s $         I   325 497   s    o58453
                                       CASH FLOW STREAM                                                                           s   114.335.363'   $     15_775.5981   s   2.941.3A5     s    lt    a36 435                                           s   39,843,334
                                                  Relurn on investment vs.            kterial Handling Cos(expressed in years)                                                                              2.41
                                                                    Tolal positive cash flow over 7 year period                                                                                          t39,e3,334




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           4.3 Storage System Pricing
             4.3.1 Phase                    1   -   Engineering (ln Process)
           Description - Phase 1 Engineering                                                                  Price
           PHASE 1 - Engineering                                                                               $      126,500.00



             4.3.2 Phase 2 - Base System lmplementation
           Final pricing based on completion of Phase 1 - Engineering


                         -20
           Mech. Hardware - New Conveyor System                                                                $ 3.249.227.35
           Mech. Hardware - New Palletizing System (Qty. 2)                                                    $ 1,605,605.00
           Mech. Hardware - New Carousel Stacks (Qty 20)                                                       $ 8,835,12s.00
           Express Line with Spiral, Truckloader, Scanner, etc.                                                $ 295,287.4s
           Controls - PLC, Devices, Sortation Control Package                                                  $ 2,819,425.00
           Mechanical installation - Entire System                                                             $ 2,321,500.00
           Electrical installation - Entire System                                                             $ 1,385,625.00
           Project Services (includes the following)                                                           $ 808,250.00
                Project Management
                On-site support / test & debug
           Lift Equipment                                                                                      $     63,513.16
           Waste removal                                                                                       $     30,000.00
                                                                                           Base contract total $ 21.413.557.95
           Redundant line from Fab                                                                             $    290,797.05
                                                                                    Base contract + Alternates $ 21,704,3s5.00

           Freiqht All - Est. Billed @ Actual                                                                  $      336,400.00

                   ble Taxes NA Customer                     for Sales Taxes

           Additional AlternateslOptions                                                                      Price
           Expedited Carousels (Reduces project delivery by -10 weeks)                                         $ 498,89s.00
           FUTURE: New Pushback & Se/ecfive Racking (1,060 locations) - Installed and Delivered                $ 198,950.00
           FUTURE: New Freezer ASRS Unit Load ASRS w/ DCS Shuttle (2,440 locations) - lnslalled & Delivered    $ 2.023.375.00
           FUTURE: Drive ln/Drive Thru Racking in lieu of ASRS (Freezer) - VARIANCE                            $ (612.029.00)
           FUTURE: Secondary Outbound Conveyor From Carouselsto Palletizer                                     $ 440,627.80
           FUTURE: Divert From Fah to Shipping                                                                 $ 250,327.73
           Remove/Add 1 Carousel Stack (2,784 box locations)                                                   $ 631,314.63




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   5 Box Optimization Analysis and
     Specification Docament
   The following section will be provided upon completion of the Engineering analysis.




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   6 $ales Agreement
   6.1 Conditions
   Price:
            The quoted is a net price, including freight, packaging, static and erection. Excl
            federal and/or local taxes.

   Method of payment:
   Phase 2 - Base Svstem lm           ntation Pavment Terms
      . 40 % of Equipment at Order - Net
      . 4Q % of Engineering and Project Management at Order - Net
      .  90 % of Equipment upon delivery and inventory of equipment - net 30
      .  10 oh Hand over (Customer starts using the system)
      .  Payable within 30 days
      . 95oh Labor billed upon weekly basis - net 30 - 5% retainer net 30 on hand over of
        system
      .  10ooh of freight upon delivery-Net 30 (unless collect, then billed direct.)

   Delivery:
      .   Delivery date is to be in accordance with a mutually agreed upon schedule that is yet
          to be defined.

   Period of   Validity   14 Days

   6.2      Warranty
   Excluding further claims, especially consequential damages, the period of warranty for all
   mechanical and electrical parts, apart from wear-and-tear parts, is two years.

   6.3 Conditions of Erection       / General Points
   When determining the erection prices we assumed that we will be undisturbed in the
   erection procedure and that this will be without any lengthy interruptions due to other
   circumstances arising by the customer. lf such an interruption is necessary, it has to be
  compensated. During the time of the interruption the customer takes the responsibility for
  all goods that are located, stored or installed at the site as well as any necessary costs for
  intermediate storage.

  Electricity, water and a sufficiently large storage area in the immediate vicinity of the
  construction site are to be made available to us by the customer and free of charge. We
  assume that the builder will supply the sanitary facilities.

  The storage area has to be of such a condition that the material stored in this area is not
  damaged.
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   The access roads to the site and the storage area are to be sufficiently reinforced such that
   it is possible to use heavy goods vehicles; mobile cranes and fork lift trucks on them in all
   weather conditions.
   ln cases where the erection is carried out with a mobile crane, it should be possible for this
   crane to drive into and off the slab easily. The builder is to provide, free of charge, an
   access road to the slab that meets our needs.

   At least one week before we start working the site must be in the condition as described
   above.

   When calculating and constructing the slab, the customer must consider the loads that will
   be imposed by the erection crane.

   The offloading of the conveyor components and any internal transport to the site are
   included in our quotation.

   We are assuming that the unevenness of the floor of the concrete slab will not exceed the
   tolerances that have been laid down in the FEM Guidelines. lf these tolerances are
   exceeded then it may be necessary to invoice you separately for any additional costs
   incurred.

   Levelling of the floor slab is not included in our quotation

   A sufficiently large area, directly bordering the erection area, has to be supplied to us for
   the assembly of the material handling system.

   When erecting and aligning the material handling installation we will keep to the tolerances
   that are laid down by the manufacturers.

   At the end of the erection the floor slab is to be cleared that is to say, "swept clean" by our
   erectors.

   A more thorough      cleaning   of the floor as well as cleaning of the material         handling
   installation is not included within the scope of the supply.




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          6.4 Additional Articles
          Proposal No.8214 R6

          Date: May 3,2017

          Effective to: May 27,2017

          This Sales Agreement, hereinafter called "Sales Agreement," made by and between
          Greater Omaha Packing Co. lnc., hereinafter called "Purchaser," and Kuecker Logistics
          Group, 801 West Markey Road, Belton, Missouri hereinafter called "Seller," constitutes
          Agreement of the parties as follows:

             6.4.1 Contract Documents
         ln addition to the Standard Terms and Conditions set forth in Part B below, the following
         documents ("Additional Contract Documents") are also part of this Sales Agreement and
         are hereby incorporated by reference herein. To the extent any such Additional Contract
         Document contains any term or condition inconsistent with the Standard Terms and
         Conditions below, the Standard Terms and Conditions shall govern, with the exception of
         ARTICLE 7 SHIPMENT, and ARTICLE 14 PURCHASE PRICE; PAYMENT, where the
         additional contract documents shall supersede ARTICLES 7 and 14. The Additional
         Contract Documents, copies of which are appended hereto, are as follows.

                    (1) Kuecker Logistics Group Proposal 8214   RG   dated May 3,2Q17

             6.4.2 Standard Terms and Conditions
         6.4.2.1 Article 1 Definitions:
         As used in this Sales Agreement, the term "Equipment" shall mean all the Equipment,
         machinery, parts and other items intended to be installed permanently at the Worksite; the
         term "Work" shall mean all the Equipment, installation, items and services to be supplied or
         performed by Seller hereunder, including all materials, supplied, drawings and data,
         manufacturing, installation and other services, specified in this Sales Agreement; the term
         "Purchase Price" shall mean the compensation to be paid to the Seller in consideration for
         the performance of the Work; and the term "Worksite" shall mean the location or locations
         where the Equipment is to be installed or which are to be used in the installation of the
         Equipment.

         6.4.2.2 Article 2 Permits:
         Prior to the installation of the Equipment, Purchaser shall procure and pay for all building,
         erection and other licenses, permits, authorizations and inspections required in connection
         with the Equipment, as well as but not limited to any engineering fees and/or environmental
         studies. Seller shall not be responsible for any failure of the Equipment to comply with
         building, electrical or other codes or regulations of local, state or federal agencies or
         authorities.

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             6.4.2.3 Article 3 Safety Devices:
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             Guards or safety devices as required by State or local laws are not included in this
             proposal. All equipment will comply with OSHA standards.

             6.4.2.4 Article 4 Labor and Personnel:
             Seller shall furnish all labor and personnel required for the installation of the Equipment at
             the Worksite where labor is included in the purchase price. The Purchase Price is based
             upon Seller's employing labor during regular working hours. Purchaser shall have the
             option to request Seller to employ overtime labor at Purchaser's additional cost and
             expense. Any such request to employ overtime labor shall be made by means of a written
             change order.

             6.4.2.5 Article 5 Subcontractors and Assignments:
             Seller may assign or subcontract any of its obligations under this Sales Agreement to any
             supplier, builder or other contractor which Seller and Buyer mutually consider qualified.
             Without the prior written consent of Seller, Purchaser shall not assign this Sales Agreement
             or any part thereof; provided, however, that, if Seller consents to any assignment, the
             assignee shall, as a condition to such assignment, agree to be subject to the terms and
             conditions of this Sales Agreement.

             6.4.2.6 Article 6 Taxes:
             Unless otherwise indicated, the price contains no provision for sales, use, excise, or other
             similar taxes. lt is Purchaser's responsibility to pay any such taxes should any such tax be
             levied upon Seller. lf, in Seller's opinion, Purchaser has neither paid such tax nor
             established to Sellers satisfaction exemption there from, Seller may pay same and in such
             event Purchaser will reimburse Seller immediately. lf taxes are included as part of the price
             and the rate or amount of the tax is increased or decreased, Purchaser will pay any
             increased taxes and Seller will give credit to Purchaser for any tax decrease. Seller will
             pay such tax when due and shall be reimbursed by Purchaser immediately upon
             notification by Seller. Notwithstanding Article 15: RESERVATION OF TITLE AND
             SECURITY INTEREST, Purchaser shall be solely responsible for the prompt payment of
             any and all personal property taxes of any kind that may become due or payable with
             respect to the Equipment at any time following delivery thereof to the Worksite.

             6.4.2.7 Article 7 Shipment:
         Unless otherwise indicated, seller shall ship the Equipment F.O.B. Purchaser's plant. Seller
         agrees to pay for shipping costs and shall use a mutually agreed upon carrier.

         6.4.2.8 Article 8 Unloading Charges:
         Unless otherwise indicated, all local transfer and unloading charges are to be paid for by
             Purchaser.




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   6.4.2.9 Article 9 Claims for Shortage:
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   Seller will consider no claim for shortage or errors unless made immediately upon receipt of
   shipment.

   6.4.2.10 Article 10 Site Conditions and Provisions by Purchaser:
   Purchaser, at its own expense, shall provide at the Worksite reasonable means of access
   to a minimum of one dock door, with the availability of a dock leveler, a completely
   enclosed building to protect Seller's equipment from the elements, completion of watertight
   roof and such electric current, water, heat, ventilation, light and other utilities and facilities
   required for the installation of the Equipment. ln the event that any elevator or crane
   service owned by Purchaser shall be available at the Worksite, Seller may, without charge,
   use any such service for handling of materials during installation. Purchaser shall allow
   Seller access to the Worksite for inspection of compliance to these requirements, prior to
   commencement of the installation.

   Additional provisions and conditions set forth in Attachment A, Site Conditions Provided by
   Purchaser, are hereby incorporated by reference herein as part of this Sales Agreement.

   6.4.2.11 Article 11 lnsurance and Risk of Loss:
   Upon delivery of the Equipment to the Purchaser, Purchaser shall be responsible for and
   shall bear any and all risk of loss of or damage to the Equipment.

  6,4.2.12 Article 12 Changes, Delays:
  At any time prior to final payment, Purchaser may request in writing any substitutions,
  deviations, additions, or deletions (hereinafter referred to as "Changes") in the Equipment
  and in the specifications or drawings incorporated in this Sales Agreement. All the terms
  and conditions of this Sales Agreement shall apply to such Changes. lf Seller's
  performance is materially delayed or prevented by Purchaser, by any such Changes or by
  other causes within control of Purchaser, Purchaser agrees to reimburse Seller for
  expenses incident to such delay including, without limitation, the costs of storing,
  maintaining, repairing, and refurbishing Equipment, demurrage, labor and material
  escalation and pull out charges. ln such event, Purchaser also agrees to excuse the delay
  and accept Seller's performance at an appropriately deferred completion date. Where
  Seller's performance under this Sales Agreement is delayed as above, the Purchase Price
  shall be revised based upon labor wage rates, material costs and other conditions
  prevailing at the time of actual performance. lf the changes or delays made by Purchaser
  can be established as resulting in any reduced cost to Seller, Purchaser will be credited
  with the amount of such reduction. The amount, if any, of such reduction shall be
  determined by Seller.

  6.4.2.13 Article 13 Delivery:
  Delivery promises are based on the present promises of Seller's suppliers and vendors.
  Seller will not be held liable for delays caused by such suppliers and vendors. All deliveries
  are subject to change required by governmental restrictions and priorities.

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           6.4.2.14 Article 14 Purchase Price; Payment:
           ln consideration of the performance of the Work, Purchaser shall pay             to Seller the
           Purchase Price specified in this Sales Agreement.

           Phase 1 - Engineerinq Pavment Terms
             . 50oh down payment - Net
             . 50o/o upon completion of the phase 1 engineering and design analysis        - Net 30
           Phase 2 - Base Svstem lmplementation Pavment Terms
             . 40 % of Equipment at Order - Net
             . 40 % of Engineering and Project Management at Order - Net
             . 90 % of Equipment upon delivery and inventory of equipment - net 30
             . 10 % Hand over (Customer starts using the system)
             . Payable within 30 days
             . 95oh Labor billed upon weekly basis - net 30 - 5% retainer net 30 on hand over of
                  system

           Should Purchaser inform Seller of any deficiencies prior to thirty (30) days from completion
           of installation, the amount of the retainer necessary to correct the claimed deficiencies will
           be mutually determined and Purchaser will pay the retainer down to the determined
           amount. When the stated deficiencies are corrected, purchaser will pay remaining retainer
           balance to seller.

           100% of freight upon delivery-Net 30 (unless collect, then billed direct.)

           6.4.2.15 Article 15 Reservation of Title and Security lnterest:
          Notwithstanding the transfer of possession by Seller to Purchaser and without affecting the
          passage of the risk of loss to Purchaser as provided in Article 11: INSURANCE AND RISK
          OF LOSS, Seller retains legal tile to the equipment until 80% paid. ln the event it is ever
          determined by any Court of competent jurisdiction that title has passed to Purchaser,
          Purchaser does hereby grant to Seller a Purchase Money Security lnterest in the
          equipment until full and final payment is made therefore by Purchaser. lf Seller for any
          reason does not retain title to the equipment until fully and finally paid Seller shall have the
          rights of a secured creditor under the Uniform Commercial Code for the jurisdiction
          applicable to this Sales Agreement. Purchaser hereby authorizes Seller to sign and file on
          behalf of Purchaser as the Debtor, any financing statements or other documents with state
          or local recording offices which may be required to prefect such security interest.

          All rights, title and interest to the software and documentation, if any, provided hereunder
          shall at all times remain with Seller. Seller hereby grants Purchaser a non-transferable and
          nonexclusive perpetual license to use all computer software manufactured and provided by
          Seller under this Agreement at the site of the Work. Purchaser agrees to use such
          software strictly in compliance with the terms of this Agreement, and for the use(s)
          contemplated herein. Even though Purchaser does not become an owner of a copy of the

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       software until it receives title to the Equipment, Seller grants permission for Purchaser to
       exercise the rights of an owner as set forth in 17 USC 117 , that is, to make archival or
       backup copies of the software, to adapt it as necessary for it to run on the Equipment for
       which it is licensed, and to run it as an aid in maintaining the Equipment, Purchaser
       specifically agrees not to copy the software for any purpose other than those set forth in 17
       USC 1 17, nol to utilize it at any other site, and not to furnish, disclose, or otherwise make
       said software, or any portion thereof, available to any third party. Any action by Purchaser
       in contravention of this provision shall constitute a breach of this contract entitling Seller to
       the return of the software and any and all copies thereof. Purchaser hereby acknowledges
       that Seller shall have the right to specific enforcement of the terms of this provision.

       6.4.2.16 Article 16 Drawings and Specifications:
       Specifications of this proposal and accompanying drawings are the Seller's property,
       loaned to Purchaser for record and information purposes only and are subject to recall at
       any time prior to our final approval of this Sales Agreement.

       6.4.2.17 Article 17 Delayed Payments:
       ln the event that Purchaser fails to make due and punctual payments for the Equipment
       and/or Work as provided herein, interest shall accrue on the amount due and unpaid at the
       rate of one percenl (1%) per month for each full calendar month or part thereof during
       which such amount shall be outstanding, such interest to commence to accrue on the
       fifteenth (1sth) day after such amount is due and payable hereunder. lf the interest rate
       provided herein exceeds the maximum interest rate permitted by law, then the interest
       payable shall be at such maximum permissible rate.

       6.4.2.18 Article 18 Contingencies:
       ln the event of any condition or contingency, existing or future, which is beyond the
       reasonable control and without the fault or negligence of Seller ("Event of Force Majeure")
       which prevents or delays, or materially increases the cost of, the performance by Seller of
       this Sales Agreement, Seller shall be entitled to an appropriate extension of time for
       performance of this Sales Agreement and an equitable adjustment in the Purchase Price.
       Events of Force Majeure shall include, without limitation, acts of God, explosions, fire,
       floods, transport delays, strikes, insurrection, labor disputes and interference by civil or
       military authorities. lf an Event of Force Majeure occurs, Seller shall take measures to
       mitigate and minimize the effect of such Event and to continue with the performance of its
       obligations under this Sales Agreement.

       6.4.2.19 Article 19 Cancellation:
       (a)This Sales Agreement may be canceled upon the occurrence of any of the following
       events:

       (1) ln the event that either party shall breach or fail to comply with any provisions of this
       Sales Agreement and such breach or failure shall continue for a period of thirty (30) days


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        after the giving of written notice thereof by the other party, the other party may cancel this
        Sales Agreement immediately upon the giving of notice thereof to the defaulting party.

        (2) Notwithstanding the foregoing, if Purchaser shall have failed to make any payment due
        under this Sales Agreement within thirty (30) days after having been so notified in writing by
        Seller, Seller may cancel this Sales Agreement immediately after the expiration of the thirty
        (30) day period by giving notice of such cancellation to Purchaser.

        (b) ln the event of any cancellation of this Sales Agreement by Seller for default on
        Purchaser's part in the payment of any portion of the Purchase Price hereunder, Seller
        shall have all the rights and remedies afforded by the laws of Kansas.

        The rights and remedies referred to in this Article are cumulative, and Seller shall not be
        required to make an election at any time. Seller shall be entitled to assert its claim of a
        mechanic's lien against the Equipment and the property upon which it is erected at any time
        before the expiration of the time fixed by law for filing such lien.

        (c) ln the event of any cancellation of this Sales Agreement, Purchaser shall nevertheless
        be obligated to pay Seller an amount equal to Seller's actual cost of performance plus a
        reasonable profit hereunder up to the effective time of the cancellation.

        (d) Except   as set forth above, this Sales Agreement shall not be subject to cancellation by
        either party after the date of execution hereof.

       6.4.2.20 Article 20 Warranty:
       The Seller will assign any manufacturer's warranty to Purchaser. Seller shall perform all
       workmanship in a workmanlike manner.

       THERE ARE NO OTHER WARRANTIES, EXPRESS OR IMPLIED, INCLUDING BUT NOT
       LIMITED TO ANY WARRANTY OF MERCHANTABILITY OR FITNESS FOR A
       PARTICULAR PURPOSE, OTHER THAN AS SPECIFICALLY SET FORTH HEREIN.

       6.4.2.21 Article 21 Use of lnstalled Portions of the Equipment:
       Whenever, as determined by Seller, the installation of any portion of the Equipment has
       been completed, Seller may make available such portion for Purchaser's use, provided,
       however, that Seller and Purchaser shall mutually agree on the terms and conditions of
       such use. Except as otherwise agreed by Seller and Purchaser (including where
       appropriate, an adjustment in the Purchase Price and/or schedule otherwise provided for in
       this Sales Agreement), such use shall not interfere with the installation of the remainder of
       the Equipment. Seller shall not be liable for the cost of repairs, rework or replacement
       which may be required due to ordinary wear and tear resulting from such use.

       6.4.2.22 Article 22 lnsurance by Seller:
       Seller will maintain insurance coverage covering its operation as follows:

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        Comprehensive General Liability - $1,000,000 per occurrence, $ 2,000,000.00 general
        aggregate

        Personal lnjury Liability - $1,000,000 Limit.
        Umbrella - $4,000,000 per occurrence, aggregate $4,000,000
        Business Auto - Bodily lnjury & Property Damage - $1,000,000 Combined Single Limit.
        Worker's Compensation - Statutory - Employer's Liability; $500,000 each accident;
        $500,000 each employee; $500,000 Policy Limit

        6.4.2.23 Article 23 Limitation of Liability:
        Notwithstanding any other provision of this Sales Agreement, EXCEPT THE WARRANTY
        PROVISIONS, Seller shall not be liable to Purchaser or anyone claiming through Purchaser
        (a) for any special, indirect, incidental or consequential damages of any kind whatsoever,
        whether such damages arise out of the use, inability to use, failure of, defects in, the
        Equipment or otherwise, or (b) for any charges or expenses of any nature incurred without
        Seller's written consent.

        6.4.2.24 Article 24 lndemnification:
        To the fullest permitted by law, the Contractor (Kuecker) shall indemnify and hold harmless
        Greater Omaha Packing from and against all claims, damages, losses and expenses,
        arising out of or resulting from performance of the Work, provided that such claim, damage,
        loss or expense is attributable to bodily injury, sickness, disease, or death, or to injury to or
        destruction of tangible property (other than the Work itself), but only to the extent caused by
        the negligent acts or omissions of the Contractor or anyone directly employed by it.

        6.4.2.25 Article 25 Waiver:
        Except as otherwise expressly provided in this Sales Agreement, no failure on the part of
        either party to exercise, and no delay in exercising, any right, privilege, or power under this
        Sales Agreement shall operate as a waiver or relinquishment thereof; nor shall any single
        or partial exercise by either party of any right, privilege or power under this Sales
        Agreement preclude any other or further exercise thereof, or the exercise of any other right,
        privilege or power. Waiver of any party of any breach of any provision of this Sales
        Agreement shall not constitute or be construed as a continuing waiver, or as a waiver of
        any other breach of any provision of this Sales Agreement.

        6.4.2.26 Article 26 Entire Agreement:
        This instrument, together with any attachments specifically made a part of this agreement
        and any other documents incorporated in such attachments by reference, embodies the
        whole agreement of the parties relating to the subject matter of this Sales Agreement and
        supersedes any and all prior oral or written specifications, communications and agreements
        by or on behalf of the parties. This Sales Agreement may not be varied by any purchase
        order, acknowledgment, confirmation, invoice, or shipping document issued by either party.
        Any amendments or modifications of this Sales Agreement must be in writing and signed
        by purchaser and an officer of seller to be binding.

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       6.4.2.27 Article 27 Governing Law:
       This Sales Agreement shall be governed by and interpreted in accordance with the law of
       the State of Nebraska.




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      APFROVED AND EXECUTED BY:
      AUTHORIZED FOR PURCHASE BY:

                           Greater Omaha Packing


      Signature


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      ritte   f{beq,f,ie l/,e lrtr;ln*f      Date          -; - zz-    zo) 7


     AUTHORIZED FOR $ELLER BY

                           Kuecker             G           lnc


     sig nature


     Name


     Title                                   Date




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  Addendum to Kuecker Loglstlcs 6roup Agreenrent (proposal g2l4 R6 dated s/g/2arlt

  Greater omaha Packing (coP) is undertaking a major project involving the clesign, construction and integration
                                                                                                                 of
  an on-site auton.rated box storage, retrieval and loading $ystem for its fresh products produced
                                                                                                   at  its omaha, NE
  beef processing facility. This Facility Box Storage system project (project) will be coorjinated
                                                                                                   by Gop,s
  construction Manager, Joaquin Urias who will oversee all phases of the planning, deslgn, and construction
                                                                                                               of the
  project.

  To achieve all of the project's objectives, including specifications, tinrelines and, ultirnately,
                                                                                                     the full optimization of
  the integrated material handling system, GoP will rely on Kuecker Logistlcs 6roup (KL6) to
                                                                                                    furnish the operailonal
  analysls, systems engineering, product specifications, installation of the products/systern,
                                                                                                   and provide all training
  and star[ up asslstance that n']ay be required as well as providing the complete management
                                                                                                       of the project in
  coordination with other contractors and vendors through Gop,s construction Manager.

  The purpose ofthis Addendum ls to be cenain that several of GoP's expectations         that may not   be stated in the
  Proposal are understood and agreed upon by KIG and GOp, Specifically:

             l(LG acknowledges that GoP is relying on KLG to achieve a faclllty box storage system design
                                                                                                             that
             provides the most efficient such system at the lowest cost.
       a     KLG acknowledges that GoP is relylng cn the accuracy of KLG's Rol analysis in Section
                                                                                                      4 of the
            Agreement to justify the estirnated costs for the base system implementation as not-to-exceed prices.
            KLG agrees that GOP must approve any increase in prices listed in Section 4,3
                                                                                            ancl l(16 agrees thit any
            reduction in prices listed in Section 4.3 shall reducethe costto GOp-
       I    KLG and GOP shall mutually agree on a delivery,/hand over date as referenced in
                                                                                               Section 6.L that shall be
            as soon as is practicable, but no sooner than the date the system functions as described
                                                                                                        ln Sectlon 4.
       I    KLG agrees that the Warranty provision in Section 6.2 applies to any arrd all software
                                                                                                    required to operate
            the system.
       I    KLG agrees that this Addendum shall be considered as an additional contract document
                                                                                                        as referenced in
            Section 6.4.
       t    KLG agtees that the tinreline for completing the various stages of the project, as initially agreed, shall be
            maintained by GoP's project manager and any changes thereto shall be communicated to KLG. KL6
                                                                                                                     wlll
            be responsible to keep the project on schedule,
       a    KL6 and GoP agree that any dispute over the terms of the Agreernent that is not resolved by
                                                                                                              mutual
            agreement shall be subfiltted to a single arbltrator in oouglas county, Nebraska by binding
                                                                                                            arbitration in
            accordance with the Commercial Arbitration Rules of the American Arbitration Association, and
           judgrnent upon the award rendered by the Arbitrator may be entered in Douglas county
                                                                                                         District Court.



                           on behalf of 6OP by Angelo Fili, Executive Vice presiclent:

                                      5'22'11            ature and date)

           and             on    half of   K   byJim Kuecker, VP System Sales:

                                     t t7             signature and date)




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                 Proudly featuring boilr certified Hereford Beef and certified Angus Beef
                                P.O. Box 7566 . Omaha, Nebraska 68107
  slaughter (402)731-3480 Fax:    (4O2)731-7542          Fabrication (4021731-1700 {800')747-5400 Fax:(402) 731-8020
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                               EXHIBIT 2
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                              Box Storage System
                                   I Floor 2 ]
                                  Omaha, NE
                                          Submitted to
                                           Angelo Fili

                                     Proposal#8453JK     R1

                                      February 26,2018

                                        Prepared By:
                                 Jim Kuecker (816) 331-7070
                              Brandon Fosbinder (816) 331-7070

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                                      X        External

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   February 26,2018


   Mr. Angelo Fili
   Executive Vice President
   Greater Omaha Packing Co. Inc.
   3001 "L" Street
   Omaha, NE 68107




   Dear Mr. Fili,

   Thank you for the opportunity to work with Greater Omaha Packing Co. on Floor 2 project for the
   Omaha, NE facility.

   Revision  l: This revision eliminates the accumulation on the reject lines and replaces it with gravity
   roller conveyor.  Also the single divert Intralox Sorterforfuture x-ray process has been replaced
   with a diverge table.

   Based on our discussions with you and our review of the project requirements, we feel that we have
   offered the best approach to this project and we look forward to reviewing our proposal and system
   implementation plan with GOP.


   Sincerely



     tlr*""    &W
   Jim Kuecker
   VP System Sales




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           7 lntrodaction to l(uecker
      1,1 About Kuecker Logistics Group
      Since 1980, Kuecker Logistics Group, Inc. (KLG) has specialized in providing innovative solutions to suit our
      clients' needs for integrated rnaterial handling systetns.

      KLG's experience is founded on the riglrt combination of people and equipment. We offer the most
      technologically advanced product lines to provide the best in perfonnance, quality and safety.

      In addition, we take pride in our ability to establish a close relationship with our clients. KLG as a company
      makes a comtnitment to honor our promises, fulfill our customers' reqllests, finish the job on time, and offer
      continued professional support.

      Our services include operational analysis and systerns engineering as well as furnishing pre-engineered
      products or KLG's custom-fabricated products. We will install your system, manage your project, and
      provide all ofthe training and start up assistance that you require.

      Our experience enables us to handle any type of challenge from rnulti-million dollar fully integrated systems,
      to retrofitting existing systems, to providing sirnple equipment requirements.




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      1.2 Project lnformation
      Project    name:         Greater Omaha Packing Co.       -   Floor 2 Project
      Project    nurnber:      8453JK Rl



      1.3 Gontact lnformation
      For infonnation regarding this project please contact:

      Narne:                  Kuecker Logistics Group

      Contact:                Jim Kuecker - VP Systerns Sales
      E-rnail:                jirn@kuecker.com

      Contact:                Brandon Fosbinder - Director of Concepting and Estirnation
      E-mail:                 brandon@kuecker.com

      Contact:                Russell Hedrick - Project Manager
      E-rnail:                rhedrick@kuecker.com

      Tel.:                   (Bl6) 331-7070
      Fax:                    (816) 331-7BBB


        1.3.1     Customer Site lnformation
      Narne:                  Greater Ornaha Packing Co. Cornpany
                              3001 "L" Street
                              Omaha, NE 68107

      Contact:                Mr. Angelo Fili
      Phone:                   402-731-1700
      Ernail:                 angelo@greaterornaha. com


        '1.3.2 Abbreviations
      KLG                     Kuecker Logistics Group
      GOP                     Greater Omaha Packing Co




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   2 Execative Sammary
  The primary objective of the GOP Floor 2 initiative is to ensure that 100% of the cases that
  leave the Floor 2 area are able to be successfully scanned and stored in the new Box
  Storage Carousel System.

  As has been discussed since early in this project - in order for the new Box Storage
  Carousel and Automatic Palletizing System to work as designed, it is imperative that no
  more than 1% of the GOP cases that are received there have any form of defect (Bar
  Code, Box Flap, Bulge, Wet Boxes, etc....).

  The Kuecker Logistics Group Project Team has also listened intently to other GOP
  objectives in regards to the GOP Floor 2 initiative. Below is an outline of some of the
  primary technologies that have been incorporated into this new Floor 2 modification project
  to address these initiatives. A brief description of the deliverables and how these are
  achieved is described in further detail broken down by sub-system below.

   SYSTEM OBJECTIVES & BENEFITS:
     1. New Label Verification  -
          a. Traditionally this function is located at Scale and Print and Apply prior to
             Case-seal.
          b. GOP team has asked KLG to remediate this system void post the Case-
             sealers.
          c. KLG to provide this function post case-seal and prior to box leaving Floor 2
                  i. 50'-8' linear feet of accumulation to handle label defects.
                         1. Provides capacity to hold 25 cartons at 23.5" L.
          d. System will verify for...
                    i.
                     Product Label No-Reads
                 ii. Weight Label No-Reads
                iii. Product Label / Weight Label miss-match
     2. New Box Flap, Tab and Seal Verification       -
          a. Required for successful equipment operation in the New DC.
          b. KLG to provide this function post case-seal and prior to box leaving Floor 2
                  i. 44'-11" linear feet of accumulation to handle box defects,
                         1. Provides capacity to hold 23 cartons at 23.5" L.
          c. System will verify for...
                  i. Open Tabs
                 ii. Open Flaps
                iii. Over-Pack Height
                iv. Over-Pack Width

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      3.   Staff Reduction Opportunities  -
              a. Today GOP associates are typically deployed for label and box seal
                    verification. These associates have been typically stationed on Floor 2,
                    Shipping Dock and Storage areas to resolve. Correcting these issues on
                    Floor 2 with automatic detection will streamline the problem resolution time
                    and efforts.
              b. These associates may be re-deployed to more value added tasks that have a
                    higher ROI for GOP.
     4.    Maintaining corrective actions at the sealer room is considered to be most effective
           and keeps the resolution process with the group responsible for finished goods
           quality.
     5.    Redundant Lines from Case-sealer Outfeed -
              a. KLG to provide two lines from Case-sealer Outfeed to New DC. This includes
                    the necessary system design configuration that will provide for adding Foreign
                    Object Detection at a later date.
              b. To achieve redundant capability, a single divert lntralox Sorter (Sorter #2) is
                    provided to transfer Floor 2 output between 2 southbound lines to a future
                    Foreign Object Detection and then ultimately to the downstream New DC.
                        i. Temporarily (while New DC is being built), 1 of 2 conveyor lines will
                            deliver outbound sealed / labeled boxes to the current Stack Off area.




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   3 Project Details
  3.1 Scope of Work
  This project consists of the demolition of the existing conveyor coming out of the case
  sealers. Once the existing conveyor has been removed, the new system will bring all 3
  lines into one central sortation system that will detect no-reads, open flaps and/or bulging
  boxes to be sorted off the line for manual correction. (2) Reject sort points have been
  provided to remove such boxes from the system. An additional third sort point has been
  provided to allow for redundant lines feeding x-ray machines and the new box storage
  system (future). The system as proposed will include one line tying into the existing
  conveyor which takes outbound boxes down to the floor level 1.

  Floor 2 Existing:




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                                                                                   Gravity Roller Buffer
                                                                                  for Label Remediation



                                                                                                                                                           MDR
                                                                                                                                               Accumulation/lndexing
                                                                                                                                               Conveyor from existing
                                           Gravity Roller Buffer                                                                                lntralox BoxTurners :
                                             for Box lntegrity
                                               Remediation




                                                                                                                                                                     Central Merge



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                   0iverge/Crossover                                                                                                     SICK Label   Verification
                 Redundancy Switch for
                                                                                              lntralox         lntralox
                                                                                                                                     Scdnning System and Box
                                                                                             Sorter Box    Sorter Label
                 splitting up product to                                                                                             Verification Sizing Station
                                                                                            Verification    Verification
                 both lines feeding the                                            o
                                                                                              Divert          Divert
                  Box Storage System




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   3.2 Gase Sizes
   GOP & KLG confirmed system to handle the following three boxes sizes

                                                                               OUTSIDE DIMENSION

    Gase

    SmallBox                      23   - 112"                               15    -   5/8'                        I-    1t4"

    Half Pack Box

    Large Box                     23   - 1t2',                              18 -718"                              I-    1t4',


   Below list shows box sizes originally submitted to KLG.




                     DC     23         L4t3/76 8 15/16              s6-33-56      44ECt        K     c       ok            #1 used fab box - glued box
                     DC     23         14L3/r6 7 7/4                69-40-69      44EC't       K     c       ok          #1 used export box - glued box
                     DC    24 3/4      18 7/8    I                  69-26-69      4 ECI        K     c       ok         Large Fab - least used - glued box
                     DC    77 t/2      rL    3/8       6            35-25-35      32ECT        K      c                     Clam shell - strapped       **

   **Steak box will need to be changed to a glued box to be accepted into the Single Box Storage System




                     DC    22 3/4 L6 11/76         i   r5h6         56-33-56          44ECtl   K     c       no                 Clam shell - strapped
                     DC    17    tl2    17 3/8         6            35-25-3s      32Ecrl       K     c       no                 Clam shell - strapped
                     DC     23         14 13/76 8 r5/L6             56-33-55      nqectl       K     c    not dav   1                 elued box
                     DC     23         14 L3/1,6       7 t/4        69-40-69      qqrcTl       K     c    not dav   1                 glued box




                     DC    22 3/4       9 s/8          3            42-26-42          200#     K     B      NA                  Clam shell - strapped
                     DC     15          10             4            35-26-42      32ECT        K     B      NA                  Clam shell - strapped
                     DC     18          72     4 r/2                35-26-42      32ECT        K     B      NA                  Clam shell - strapped
                     DC    17 3/4      ts r/L6 4 sl&                35-26-35      32ECr        K     c      NA                  Clam shell - strapped
                     DC    17 s/76 74 L/4 s 1/8                     35-26-35      32ECT        K     c      NA                  Clam shell - strapped
                     DC    2r.6875 L6 th6 6 7116                    42-33-42          200#     K     B      NA                  2-piece box - strapped
                     DC    21.   u2     16             6            55-36-55      44EC-l       K     B      NA               2-piece box - strapped
                     DC    22 7/r5     ts 1lL6         7   L/4      35-26-35      32ECr        K     B      NA               2-piece box - strapped
                     DC    27 7/8      74 7/8          7u4          56-36-55      44tL   I           B      NA               2-piece box - strapped

                     HSC    45         38 3/4 42                 42-30-42-30-69   6I           K     BC     NA                     Combo Storage




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              3.3 Floor 2 System Pricing
                          n
              Mech. Hardware - New Floor 2 Conreyor and Hanging Steel                          $           208,721.44
              Mech. Hardware - New lntralox Scan Verifl7 & Box lntegrity Sorter                $               68,875.00
              Mech. Hardware - New Dir,erqe Table                                              $               22,641.33
              Software & Controls - PLC, Devices, Sortation Control Package                    $           119.943.67
              Mechanical installation - Entire Svstem                                          $           117,937.50
              Electrical installation - Entire SVstem                                          $           179,426.25
              Proiect Services (includes the following)                                        $               65,687.50
                 E nqineerinq & Documentation
                 Proiect Manaqement
                 On-site support / test & debuq
              Lift Equipment                                                                   included
              Waste remotal                                                                    $                4,830.00
              Base contract total                                                                          7     062.69

              Fre   ht All - Est. Billed     Actual                                            $               12,600.00

              Applicable Taxes NA (Customer Responsible for Sales Taxes)                       $


                                                                                              Deduct Price
              Reduce schedule to two (3-dav weekends)                                $             (4,300.00)
              Option is for two long weekends (Fri,Sat,Sun) back to back as defined below rather than base
              approach of 3 weekends (Sat / Sun Only)
                           o Weekend 1: KLG starts work at 6:00 AM on Friday thru 6:00 AM on the
                                    following Monday
                                o   Weekend 2:   KLG   starts work at 6:00 AM on Friday thru 6:00 AM on the
                                    following Monday
                                o   GOP to determine if they want     / need to run a 6th day of Fab Production on the
                                    Saturday before weekend    l   and after weekend 2 as a means of l<eeping up with
                                    the Production needs


              3.4 Equipment Lead Time
              Sortation Equipment:                                     12-14 Weeks ARO
              Conveyor Equipment:                                      1O-12 Weeks ARO




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   3.5 Exceptions & Clarifications
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        Conveyor is all mild steel- painted
        All motor starter/controllers will be installed in existing MCC's, assumption has been made that
        sufficient quantity of MCC buckets are available to handle the new additions.
        VFD's will be added to existing VFD control panel.
        Camera Scanner for verification sorter is included.
        Existing GOP electrical drawings will be updated for the new system additions. lf CAD drawings
        cannot be supplied, redlined hard copies of the changes will be provided.
        Galvanized PVC Coated Rigid Steel Conduitto be used in process areas
        Concrete housekeeping pads for the Control Panels not included
        Painting of conduit not included
        Welded supports not included
        Performance & Payment Bonds not included
        Assumed the existing PLC cabinets and hardware will be available for our use.
        NEMA4X rotary style disconnects with auxiliary contacts.
        Supports similar to the existing stainless supports viewed on-site will be provided.
        lncluded in the cost are electrical permits, fees and inspections.
        Price is based on performing all the work on an open shop basis.
        Proposal is based on working 5 days per week, t hours per day. No weekend work has been included
        except for the scheduled and planned cutover weekends (3 each required).
        The copper prices included are based on the COMEX index of 3.10. We reserve the right to adjust
        our commodity pricing, add or deduct, at the time of contract award and again after ordering the
        material. We will need to monitor the market changes together.



   3.6 Provided by Greater Omaha Packing or General Contractor
        All building, Civil, floor and foundation and construction works
        Any submission to the local authority and approval.
        Clear work area.
        Spare-parts and preventive maintenance after the operational start-up.
        All sprinkler system and or lighting requirements
        Main power supply (MCCs) / VFDs
        Main power supply to ancillary devices (i.e. x-ray machines, case sealers, workstations etc.)and
        control panels
        Main network drops/switches, etc.
        ln plant offices and restroom
        Dock door access for unloading material
        Applicable Sales & Use Taxes & Permits




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        4 Sales Agreement
        4.1 Conditions
        Price:
             a   The quoted is a net price, including freight, packaging, static and erection. Excl
                 federal and/or local taxes.

        Method of payment:
        Base Svstem lmplementation Pavment Terms
             .
             40 % of Equipment at Order - Net
             .
             40 % of Engineering and Project Management at Order - Net
             .
             90 % of Equipment upon delivery and inventory of equipment - net 30
             .10 % Hand over (Customer starts using the system)
             .Payable within 30 days
             .
             95o/o Labor billed upon weekly basis - net 30 - 5% retainer net 30 on hand over of
             system
             .100o/o of freight upon delivery-Net 30 (unless collect, then billed direct.)

        Delivery:
             . Delivery date is to be in accordance with a mutually agreed upon schedule that is yet
               to be defined.

        Period of   Validity   14 Days

       4.2       Warranty
       Excluding further claims, especially consequential damages, the period of warranty for all
       mechanical and electrical parts, apart from wear-and-tear parts, is two years.

       4.3 Conditions of Erection / General               Points
       When determining the erection prices we assumed that we will be undisturbed in the erection
       procedure and that this will be without any lengthy interruptions due to other circumstances
       arising by the customer. lf such an interruption is necessary, it has to be compensated.
       During the time of the interruption the customer takes the responsibility for all goods that are
       located, stored or installed at the site as well as any necessary costs for intermediate storage.

       Electricity, water and a sufficiently large storage area in the immediate vicinity of the
       construction site are to be made available to us by the customer and free of charge. We
       assume that the builder will supply the sanitary facilities.

       The storage area has to be of such a condition that the material stored in this area is not
       damaged.


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       The access roads to the site and the storage area are to be sufficiently reinforced such that
       it is possible to use heavy goods vehicles; mobile cranes and fork lift trucks on them in all
       weather conditions.
       ln cases where the erection is carried out with a mobile crane, it should be possible for this
       crane to drive into and off the slab easily. The builder is to provide, free of charge, an access
       road to the slab that meets our needs.

       At least one week before we start working the site must be in the condition as described
       above.

       When calculating and constructing the slab, the customer must consider the loads that will
       be imposed by the erection crane.

       The offloading of the conveyor components and any internal transport to the site are included
       in our quotation.

       We are assuming that the unevenness of the floor of the concrete slab will not exceed the
       tolerances that have been laid down in the FEM Guidelines. lf these tolerances are exceeded
       then it may be necessary to invoice you separately for any additional costs incurred.

       Levelling of the floor slab is not included in our quotation

       A sufficiently large area, directly bordering the erection area, has to be supplied to us for the
       assembly of the material handling system.

       When erecting and aligning the material handling installation we will keep to the tolerances
       that are laid down by the manufacturers.

       At the end of the erection the floor slab is to be cleared that is to say, "swept clean" by our
       erectors.

       A more thorough cleaning of the floor as well as cleaning of the material handling installation
       is not included within the scope of the supply.




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   4.4 Additional Articles
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   Proposal No. 8453JK R1

   Date: February 26,2018

   Effective to: March 25,2018

  This Sales Agreement, hereinafter called "Sales Agreement," made by and between
  Greater Omaha Packing Co. lnc., hereinafter called "Purchaser," and Kuecker Logistics
  Group, 801 West Markey Road, Belton, Missouri hereinafter called "Seller," constitutes
  Agreement of the parties as follows:

      4.4.1 Contract Documents
  ln addition to the Standard Terms and Conditions set forth in Part B below, the following
  documents ("Additional Contract Documents") are also part of this Sales Agreement and are
  hereby incorporated by reference herein. To the extent any such Additional Contract
  Document contains any term or condition inconsistent with the Standard Terms and
  Conditions beloq the Standard Terms and Conditions shall govern, with the exception of
  ARTICLE 7 SHIPMENT, and ARTICLE 14 PURCHASE PRICE; PAYMENT, where the
  additional contract documents shall supersede ARTICLES 7 and 14. The Additional Contract
  Documents, copies of which are appended hereto, are as follows:

             (1) Kuecker Logistics Group Proposal 8453JK R1 dated February 26,2018

      4.4.2 Standard Terms and Conditions
  4.4.2.1 Article 1 Definitions:
  As used in this Sales Agreement, the term "Equipment" shall mean all the Equipment,
  machinery, parts and other items intended to be installed permanently at the Worksite; the
  term "Work" shall mean all the Equipment, installation, items and services to be supplied or
  performed by Seller hereunder, including all materials, supplied, drawings and data,
  manufacturing, installation and other services, specified in this Sales Agreement; the term
  "Purchase Price" shall mean the compensation to be paid to the Seller in consideration for
  the performance of the Work; and the term "Worksite" shall mean the location or locations
  where the Equipment is to be installed or which are to be used in the installation of the
  Equipment.

  4.4.2.2 Article 2 Permits:
  Prior to the installation of the Equipment, Purchaser shall procure and pay for all building,
  erection and other licenses, permits, authorizations and inspections required in connection
  with the Equipment, as well as but not limited to any engineering fees and/or environmental
  studies. Seller shall not be responsible for any failure of the Equipment to comply with
  building, electrical or other codes or regulations of local, state or federal agencies or
  authorities.

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        4.4.2.3 Article 3 Safety Devices:
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        Guards or safety devices as required by State or local laws are not included in this proposal.
        All equipment will comply with OSHA standards.

        4,4.2.4 Article 4 Labor and Personnel:
        Seller shall furnish all labor and personnel required for the installation of the Equipment at
        the Worksite where labor is included in the purchase price. The Purchase Price is based
        upon Seller's employing labor during regular working hours. Purchaser shall have the option
        to request Seller to employ overtime labor at Purchaser's additional cost and expense. Any
        such request to employ overtime labor shall be made by means of a written change order.

        4.4.2.5 Article 5 Subcontractors and Assignments:
        Seller may assign or subcontract any of its obligations under this Sales Agreement to any
        supplier, builder or other contractor which Seller and Buyer mutually consider qualified.
        Without the prior written consent of Seller, Purchaser shall not assign this Sales Agreement
        or any part thereof; provided, however, that, if Seller consents to any assignment, the
        assignee shall, as a condition to such assignment, agree to be subject to the terms and
        conditions of this Sales Agreement.

        4.4.2.6 Article 6 Taxes:
        Unless otherwise indicated, the price contains no provision for sales, use, excise, or other
        similar taxes. lt is Purchaser's responsibility to pay any such taxes should any such tax be
        levied upon Seller. lf, in Seller's opinion, Purchaser has neither paid such tax nor established
        to Sellers satisfaction exemption there from, Seller may pay same and in such event
        Purchaser will reimburse Seller immediately. lf taxes are included as part of the price and
        the rate or amount of the tax is increased or decreased, Purchaser will pay any increased
        taxes and Seller will give credit to Purchaser for any tax decrease. Seller will pay such tax
        when due and shall be reimbursed by Purchaser immediately upon notification by Seller.
        Notwithstanding Article 15: RESERVATION OF TITLE AND SECURITY INTEREST,
        Purchaser shall be solely responsible for the prompt payment of any and all personal property
        taxes of any kind that may become due or payable with respect to the Equipment at any time
        following delivery thereof to the Worksite.

        4.4.2.7 Article 7 Shipment:
        Unless otherwise indicated, seller shall ship the Equipment F.O.B. Purchaser's plant. Seller
        agrees to pay for shipping costs and shall use a mutually agreed upon carrier.

        4.4.2.8 Article 8 Unloading Charges:
        Unless otherwise indicated, all local transfer and unloading charges are to be paid for by
        Purchaser.

        4.4.2.9 Article 9 Claims for Shortage:
        Seller will consider no claim for shortage or errors unless made immediately upon receipt of
        shipment.

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   4.4.2.10 Article 10 Site Conditions and Provisions by Purchaser:
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   Purchaser, at its own expense, shall provide at the Worksite reasonable means of access to
   a minimum of one dock door, with the availability of a dock leveler, a completely enclosed
   building to protect Seller's equipment from the elements, completion of water-tight roof and
   such electric current, water, heat, ventilation, light and other utilities and facilities required for
   the installation of the Equipment. ln the event that any elevator or crane service owned by
   Purchaser shall be available at the Worksite, Seller may, without charge, use any such
   service for handling of materials during installation. Purchaser shall allow Seller access to
   the Worksite for inspection of compliance to these requirements, prior to commencement of
   the installation.

   Additional provisions and conditions set forth in Attachment A, Site Conditions Provided by
   Purchaser, are hereby incorporated by reference herein as part of this Sales Agreement.

  4.4.2.11 Article 11 lnsurance and Risk of Loss:
   Upon delivery of the Equipment to the Purchaser, Purchaser shall be responsible for and
   shall bear any and all risk of loss of or damage to the Equipment.

  4.4.2.12 Article 12 Changes, Delays:
  At any time prior to final payment, Purchaser may request in writing any substitutions,
  deviations, additions, or deletions (hereinafter referred to as "Changes") in the Equipment
  and in the specifications or drawings incorporated in this Sales Agreement. All the terms and
  conditions of this Sales Agreement shall apply to such Changes. lf Selle/s performance is
  materially delayed or prevented by Purchaser, by any such Changes or by other causes
  within control of Purchaser, Purchaser agrees to reimburse Seller for expenses incident to
  such delay including, without limitation, the costs of storing, maintaining, repairing, and
  refurbishing Equipment, demurrage, labor and material escalation and pull out charges. ln
  such event, Purchaser also agrees to excuse the delay and accept Seller's performance at
  an appropriately deferred completion date. Where Seller's performance under this Sales
  Agreement is delayed as above, the Purchase Price shall be revised based upon labor wage
  rates, material costs and other conditions prevailing at the time of actual performance. lf the
  changes or delays made by Purchaser can be established as resulting in any reduced cost
  to Seller, Purchaser will be credited with the amount of such reduction. The amount, if any,
  of such reduction shall be determined by Seller.

  4.4.2.13 Article 13 Delivery:
  Delivery promises are based on the present promises of Seller's suppliers and vendors.
  Seller will not be held liable for delays caused by such suppliers and vendors. All deliveries
  are subject to change required by governmental restrictions and priorities.

  4.4.2.14 Article 14 Purchase Price; Payment:
   ln consideration of the performance of the Work, Purchaser shall pay to Seller the Purchase
   Price specified in this Sales Agreement.


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   Phase 1 - Enqinee no Pavment Terms
      o 50% down payment - Net
      a 50% upon completion of the phase 1 engineering and design analysis         - Net 30
   Phase 2 - Base Svstem lmple mentation Pavment Terms
      . 40 % of Equipment at Order - Net
      . 40 % of Engineering and Project Management at Order - Net
      . 90 % of Equipment upon delivery and inventory of equipment - net 30
      . 10 % Hand over (Customer starts using the system)
      . Payable within 30 days
      t 95oh Labor billed upon weekly basis - net 30 - 5% retainer net 30 on hand over of
        system

  Should Purchaser inform Seller of any deficiencies prior to thirty (30) days from completion
  of installation, the amount of the retainer necessary to correct the claimed deficiencies will
  be mutually determined and Purchaser will pay the retainer down to the determined
  amount. When the stated deficiencies are corrected, purchaser will pay remaining retainer
  balance to seller.

   100% of freight upon delivery-Net 30 (unless collect, then billed direct.)

  4.4.2.15 Article 15 Reservation of Title and Security lnterest:
  Notwithstanding the transfer of possession by Seller to Purchaser and without affecting the
  passage of the risk of loss to Purchaser as provided in Article 11: INSURANCE AND RISK
  OF LOSS, Seller retains legal tile to the equipment until 80% paid. ln the event it is ever
  determined by any Court of competent jurisdiction that title has passed to Purchaser,
  Purchaser does hereby grant to Seller a Purchase Money Security lnterest in the
  equipment until full and final payment is made therefore by Purchaser. lf Seller for any
  reason does not retain title to the equipment until fully and finally paid Seller shall have the
  rights of a secured creditor under the Uniform Commercial Code for the jurisdiction
  applicable to this Sales Agreement. Purchaser hereby authorizes Seller to sign and file on
  behalf of Purchaser as the Debtor, any financing statements or other documents with state
  or local recording offices which may be required to prefect such security interest.

  All rights, title and interest to the software and documentation, if any, provided hereunder
  shall at all times remain with Seller. Seller hereby grants Purchaser a non-transferable and
  nonexclusive perpetual license to use all computer software manufactured and provided by
  Seller under this Agreement at the site of the Work. Purchaser agrees to use such
  software strictly in compliance with the terms of this Agreement, and for the use(s)
  contemplated herein. Even though Purchaser does not become an owner of a copy of the
  software until it receives title to the Equipment, Seller grants permission for Purchaser to
  exercise the rights of an owner as set forth in 17 USC 117,lhat is, to make archival or
  backup copies of the software, to adapt it as necessary for it to run on the Equipment for
  which it is licensed, and to run it as an aid in maintaining the Equipment, Purchaser

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   specifically agrees not to copy the software for any purpose other than those set forth in 17
   USC 1 17, nol to utilize it at any other site, and not to furnish, disclose, or otherwise make
   said software, or any portion thereof, available to any third party. Any action by Purchaser
   in contravention of this provision shall constitute a breach of this contract entitling Seller to
   the return of the software and any and all copies thereof. Purchaser hereby acknowledges
   that Seller shall have the right to specific enforcement of the terms of this provision.

   4.4.2.16 Article 16 Drawings and Specifications:
   Specifications of this proposal and accompanying drawings are the Seller's property,
   loaned to Purchaser for record and information purposes only and are subject to recall at
   any time prior to our final approval of this Sales Agreement.

   4.4.2.17 Article 17 Delayed Payments:
   ln the event that Purchaser fails to make due and punctual payments for the Equipment
   and/or Work as provided herein, interest shall accrue on the amount due and unpaid at the
   rate of one percenl (1o/o) per month for each full calendar month or part thereof during
   which such amount shall be outstanding, such interest to commence to accrue on the
   fifteenth (1sth) day after such amount is due and payable hereunder. lf the interest rate
   provided herein exceeds the maximum interest rate permitted by law, then the interest
   payable shall be at such maximum permissible rate,

   4.4.2.18 Article 1 8 Contingencies:
   ln the event of any condition or contingency, existing or future, which is beyond the
   reasonable control and without the fault or negligence of Seller ("Event of Force Majeure")
   which prevents or delays, or materially increases the cost of, the performance by Seller of
   this Sales Agreement, Seller shall be entitled to an appropriate extension of time for
   performance of this Sales Agreement and an equitable adjustment in the Purchase Price.
   Events of Force Majeure shall include, without limitation, acts of God, explosions, fire,
   floods, transport delays, strikes, insurrection, labor disputes and interference by civil or
   military authorities. lf an Event of Force Majeure occurs, Seller shall take measures to
   mitigate and minimize the effect of such Event and to continue with the performance of its
   obligations under this Sales Agreement.

   4.4.2.19 Article 19 Cancellation:
    (a) This Sales Agreement may be canceled upon the occurrence of any of the following
   events:

   (1) ln the event that either party shall breach  or fail to comply with any provisions of this
   Sales Agreement and such breach or failure shall continue for a period of thirty (30) days
   after the giving of written notice thereof by the other party, the other party may cancel this
   Sales Agreement immediately upon the giving of notice thereof to the defaulting party.

   (2) Notwithstanding the foregoing, if Purchaser shall have failed to make any payment     due
   under this Sales Agreement within thirty (30) days after having been so notified in writing by

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   Seller, Seller may cancel this Sales Agreement immediately after the expiration of the thirty
   (30) day period by giving notice of such cancellation to Purchaser.

   (b) ln the event of any cancellation of this Sales Agreement  by Seller for default on
   Purchaser's part in the payment of any portion of the Purchase Price hereunder, Seller
   shall have all the rights and remedies afforded by the laws of Kansas.

   The rights and remedies referred to in this Article are cumulative, and Seller shall not be
   required to make an election at any time. Seller shall be entitled to assert its claim of a
   mechanic's lien against the Equipment and the property upon which it is erected at any time
   before the expiration of the time fixed by law for filing such lien.

   (c) ln the event of any cancellation of this Sales Agreement, Purchaser shall nevertheless
   be obligated to pay Seller an amount equal to Seller's actual cost of performance plus a
   reasonable profit hereunder up to the effective time of the cancellation.

   (d) Except as set forth above, this Sales Agreement shall not be subject to cancellation   by
   either party after the date of execution hereof.

  4.4.2.20 Article 20 Warranty:
  The Seller will assign any manufacturer's warranty to Purchaser. Seller shall perform all
  workmanship in a workmanlike manner.

  THERE ARE NO OTHER WARRANTIES, EXPRESS OR IMPLIED, INCLUDING BUT NOT
  LIMITED TO ANY WARRANTY OF MERCHANTABILITY OR FITNESS FOR A
  PARTICULAR PURPOSE, OTHER THAN AS SPECIFICALLY SET FORTH HEREIN.

  4.4.2.21 Article 21 Use of lnstalled Portions of the Equipment:
  Whenever, as determined by Seller, the installation of any portion of the Equipment has
  been completed, Seller may make available such portion for Purchaser's use, provided,
  however, that Seller and Purchaser shall mutually agree on the terms and conditions of
  such use. Except as otherwise agreed by Seller and Purchaser (including where
  appropriate, an adjustment in the Purchase Price and/or schedule otherwise provided for in
  this Sales Agreement), such use shall not interfere with the installation of the remainder of
  the Equipment. Seller shall not be liable for the cost of repairs, rework or replacement
  which may be required due to ordinary wear and tear resulting from such use.

  4.4.2.22 Article 22 lnsurance by Seller:
  Seller will maintain insurance coverage covering its operation as follows:
  Comprehensive General Liability - $1,000,000 per occurrence, $ 2,000,000.00 general
  aggregate

   Personal lnjury Liability - $1,000,000 Limit.
   Umbrella - $4,000,000 per occurrence, aggregate $4,000,000

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   Business Auto - Bodily lnjury & Property Damage - $1,000,000 Combined Single Limit.
   Worker's Compensation - Statutory - Employer's Liability; $500,000 each accident;
   $500,000 each employee; $500,000 Policy Limit

   4.4.2.23 Article 23 Limitation of Liability:
  Notwithstanding any other provision of this Sales Agreement, EXCEPT THE WARRANTY
  PROVISIONS, Seller shall not be liable to Purchaser or anyone claiming through Purchaser
  (a) for any special, indirect, incidental or consequential damages of any kind whatsoever,
  whether such damages arise out of the use, inability to use, failure of, defects in, the
  Equipment or otherwise, or (b) for any charges or expenses of any nature incurred without
  Seller's written consent.

  4.4.2.24 Article 24 lndemnification:
  To the fullest permitted by law, the Contractor (Kuecker) shall indemnify and hold harmless
  Greater Omaha Packing from and against all claims, damages, losses and expenses,
  arising out of or resulting from performance of the Work, provided that such claim, damage,
  loss or expense is attributable to bodily injury, sickness, disease, or death, or to injury to or
  destruction of tangible property (other than the Work itself), but only to the extent caused by
  the negligent acts or omissions of the Contractor or anyone directly employed by it.

  4.4.2.25 Article 25 Waiver:
  Except as otherwise expressly provided in this Sales Agreement, no failure on the part of
  either party to exercise, and no delay in exercising, any right, privilege, or power under this
  Sales Agreement shall operate as a waiver or relinquishment thereof; nor shall any single
  or partial exercise by either party of any right, privilege or power under this Sales
  Agreement preclude any other or further exercise thereof, or the exercise of any other right,
  privilege or power. Waiver of any party of any breach of any provision of this Sales
  Agreement shall not constitute or be construed as a continuing waiver, or as a waiver of
  any other breach of any provision of this Sales Agreement.

  4.4.2.26 Article 26 Entire Agreement:
  This instrument, together with any attachments specifically made a part of this agreement
  and any other documents incorporated in such attachments by reference, embodies the
  whole agreement of the parties relating to the subject matter of this Sales Agreement and
  supersedes any and all prior oral or written specifications, communications and agreements
  by or on behalf of the parties. This Sales Agreement may not be varied by any purchase
  order, acknowledgment, confirmation, invoice, or shipping document issued by either party.
  Any amendments or modifications of this Sales Agreement must be in writing and signed
  by purchaser and an officer of seller to be binding.

  4.4.2.27 Article 27 Governing Law:
  This Sales Agreement shall be governed by and interpreted in accordance with the law of
  the State of Nebraska.


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   APPROVED AND EXECUTED BY:
   AUTHORIZED FOR PURCHASE BY

                       Greater Omaha Packing



    Signature


                w I           I   )


                                      I
   Title    I/,r"        rle*f                   Date              3,      lZ     - z6 /8

   AUTHORIZED FOR SELLER BY:

                       Kuecker Logistics Group, lnc.




   Name                               James R.        uecker


   Title                                         Date




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                              EXHIBIT         3
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                       ASPEN Replacement Proposal
                              Omaha, NE
                                           Submitted to:
                                            Angelo Fili

                                         Propoeal #871sJK

                                           May 9, 2018

                                          Prepared By:
                                   Jim Kuecker (816) 331-2070
                                   Rene Danler (816) 331-7070

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         I      lntrodsEctflon to f{ueeker
    1.1 About Kuecker Logistics Group
    Since 1980, Kuecker Logistics Group, Inc. fifc) has specialized in providing innovative     solutions to suit our
    clients'   needs   for integrated material handling systems.

    KLG's experience is for:nded on &e right combination of people and equipment. We offer the most
    tecbnologically advanced product lines to provide the best in performance, quality aud safety.

    ln addition, we take pride in our ability to establish a close relationship with our clienb. KLG as a company
    makes a commitment to honor our promises, fulfill our customers' requests, finish tbe job on time, anC ifer
    continued professional supporl

    Our services include operational analysis and qystems engineering as well as fumishing pre-engineercd
    products or KLG's custom-fabricated products. We will install yoru systenL manage yonr project, and
    provide all of fte tnaining and start up assistanoe that you require.

    Our experience enables us to handle any type of challenge from multi-million dollar firlly integrated systems,
    to retofitting ecisting systems, to providing simple equipmentrequirements,




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    1.2 Froject lnfornation
    Project name:   Greater Omaha Packing Co. * ASPEN Replacement
    Ptojectnumber:          87l5JK


    1.3 Corrtact lnforrnation
    For information regarding this pmjeot please contact:

    Name:                   Kuecker Logistics Group

    Contact:                Jim Kuecker- VP Systems Sales
    E-mail:                jim@kuecker.com

    Contast:                Rene Dader     -   senior Director   * systems Integration / so*wme I project Mgt
    H-mail:                 rene@kuecker.com

    Tel.:                   (8r6) 33i-7070
    Fax:                    (816) 331-?888



      1,3.1 Customer Site lnformation
    Name:                  Greater Omaha Packing Co- Company
                           3001 'oL" Street
                           Omaha NE 68107

    Contac.t:              Iv{r. Angelo   Fili
    Phone:                 402-731-17A0
    Email:                 an gel o@greateromaha-com


      {.3-2 Abbreviations
    KLG                    Kuecker Logistics Group
    GOP                    Greater OmahaPacking Co.




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         2 Exeeutive Summarsr
        This proposal provides pricing for Kuecker Logistics Group (KLG) to supply software and
        engineering services to add the required functionality to repiace Greater'Omaha packino's
        ASPEN Warehouse functionality. The required features and functions will be tignily "
                                                                                                    '
        integrated into the New Automated Box Storage solulion being provided for the 6OF facility
        in Omaha, NE, Pricing is ba,sed on the scope of work as outlined within tfris proposat.---'-
        After contract award, KLG will complete.any required work fsr theASpEN ndpreiclment
        simultaneously with the New Automated Box Storage Solution. The functiondlit'          rijii"
        added to the existing software functional specifications for the New nutomateJ-foi d.*g"
        solution and will appear as a single deliverable in terms of software, services, rp".in*tjoi,
        documents, user documentation, training, and support.

        Kuecker Logistics Group has been engaged to provide the Warehouse Execution Software
        for the Greater omaha Packing tcoP) New Automated Box $torage System. OOF n",
        requested KLG to provide a solution that allows them to retire theiicurient ASpEN *y*i"**
        warehousing functions.

         ln order to retire ASPEN from warehousing functions, KLG willprovide the soft'rare and
        services 9efined in this proposal simultaneously with the New Automated gox S1j-[G -
,       system. .Thg.* will be a single installation and startup plan for the entire system *iif.,"no
        gaps in timeline between the original system and these enhancements. fnir piop"r"i
        identifies these functions and features at a high level. Additionaldetaitwili n" pi,iuiO"O
                                                                                                      in
        the functionalspecification and detailed design phase of the project.




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    3 Functional Overiew
    3.1 Description of Operation
    This section outlines the key functional requirernents to be provided with this project. The
    intent of this section is to convey our understanding of the scope of work required and is
    the basis for our estimate and associated pricing" Deviation, additions, or deletions from
    this operation could result in deducts or increases depending on the magnitude of the
    required differences


       3.{.1 WES $ystem Functlonality
    The New Automated Box Storage Solution is responsible for the inventory induction,
    tracking, picking, palletizing, staging and truck loading of Fab Muscle Cuts Boxes inducted
    to the system from the case sealer and weight labeling systems.

    Other categories of product (ground beef boxes, steak boxes, rew materials, trimmings and
    otfal) are not going to be inducted into the New Automated Box Storage Solution. This
    project enhancement will provide the functions necessary to identi$ boxes or combos of
    these product categories, building pallets, storing pallete in the cooler orstorage trailers
    and shipping pallets/boxes.

    ALPHA will provide KeyChain WE$ with orders that include all categories of product.
    Order lines for products that are stored in the New Automated Box Storage System will be
    handled by functionality already being provided with the New Automated Box Storage
    Solution. Order lines for products handled outside of the New Automated Box Storage
    System are manually assembled onto pallets. The pallets are then "bullt" using new
    KeyChain WES functionality onto pallets that can be stored in inventory locations, stored in
    storage trailers or loaded on shipping trailers for shipment. These pallets willfulfillthe
    order requirements and be included in allshipping documentation (manifests and billof
    ladings). The inventory will be relieved from the existing Box Storage inventory when the
    shipment is'completed" in KeyChain WES.




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          KeyChain WES will provide the following capabilities for non-box storage inventory:
           r  Build pallets of Existing Box Storage inventory
                 o    Single item pallets or
                 o    Mixed item pallets
           . Track invenlory for non-combos from pointwhere box is first built onto pallet
             until ship confirmation time"
           r Move cases from pallet to pallet
             Load pallets onto trailers
           '     o    For storage
                 o    For shipping
                 o    For transfer to outside warehouses (OS\ 4
           " Unload pallets
                 o    From storage trailers
                 o    From shipping trailers
                 o    From transfer trailer
           c Move combos onto trailers
                 o   For shipping
                 o   For transfer to oulsidil warehouses (OSW)
                 o  For temporary storage
           r Move   pallets  from location to location.
           r Generate manifests for orders
                 o   lncluding product from new automated box storage and existing box storage,
           . Generate BOLs (Laser Printer)
                 o   lncluding product from new automated box storage and existing box storage
           c $end Alpha Ship Manifests for all product shlpped.
           r Existing Box $torage product
                 o   ls not hard allocated
                 o   ls not picked (using Key0hain WES Picking Transactions)
                 o   ls moved to pallets and moved to trailers
                 o  Combos can be moved to storage or shipping trailers.
                 o  ls manifested and is on Bill of Ladings
                 o  ls included in allshipping displays/queries
                 o  ls available on lnventory Displays and eueries (excluding combo,s)
          o  Existing Box Storage Shipping
                 o  Provide load sheets
                       n     Box $torage Requirements
                       '     combo requirements (allows for attachment of combo scare
                             labels)
                       "     Other reguirements (Existing Box Storage, non-combo
                             requirements)
                 o  Trailer/Order Visibility

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                           .   Show what was ordered, ver$u$ what was loaded.
                    o   Provide ability to generate
                           'n Manifests
                              BOL's
                           r Ship Confirmation {Send rnanifest to Alpha}
                           . Query/Reports
                              . Weight Sheet Query by Order
                              r Total Shipments per Day Query
                              . Shipments by'Product, Customer, Order Query
            r   Combo Shipping
                    o  Provide ability to load combos from combo load sheet.
            n   Outside warehouse functionality
                    o  KelChain WES will move inventory sent to O$W to KeyChain WES
                       OSW location {one location per OSW).
                    o  lnventory will be tracked by pallet label.
                    o Returned pallets are moved back into inventory when the pallet LpN is
                .     scanned
                          .    KeyGhain WES will remember the boxes on the pailet.
                    o Shipments do occurfor product on OSW outside of WES.
                          '   Pallets shipped flom OSWwillrequire GOp to manually remove
                              them fiom WES inventory by scanning/entering the pafet LpN (or
                              other methods TBD).

    The additional KeyChain WES softrare tunctionality will run on the existing KeyChain WES
    hardware platform and be accessible through a single login session and from a single
    menu system,

    Retirement of ASPEN's non-warehouse functio-Lgjs not part of KLG's scope {this includes
    all purchasing functions, etc...).

    KeyChain WES RF functionality will be accessed from existing RF terminals (Vr Emulator
    is required on Terminals). GOP to provide KLG with makelmcideland screen size for alt
    existing RF Terminals.

   Pallets will be built to pre-printed labels provided by GOP (as per cunent process).
   AllKeyChain WES lnventory can be synchronized with ALPHA {New Automated box
   Storage and Existing Box Storage). This does not include Combo's not created in
   Key0hain WES inventory.




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     4    Seope of Work
     The following outlines the scope of work to be provided by KLG, as well as what we
     understand to be supplied by other parties. lf this information is not correct, please alert us
     and we will be pleased to modlfy our scope of work accordingly.


     4.1 Project Schedule
     A mutually agreeable schedule will be determined before the Final Functional Specification
     Document is approved by GOP. This schedule willcoincide with the New Automated Box
     Storage System schedule.

     4.2 Equipment and Services Frovided by tftG
     There are no other services being provided other than to include the A$PEN Warehouse
     functionality replacement functions into the existing New Automated Box Storage Sy*iem
     projecl deliverables.

     No additional equipment or 3d party purcha$es are planned for this proiect.

     4.3 Assumptions & Glarifications
     There are no new assumptions or clarifications from lhe New Automated Box $torage
     System proposal.




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    5 System Pricing
    5.1 Fricing - Base Systern

             . Project Management                                     $320,300
             r Detail Design
             o ln-House Engineering Labor
                   o  Host interface design, development & testing
                   o  Detail Design Specification
                   o  Project specific modifications
                   o  Standard sofhnrare installation & configuration
                   o  ln-house system testing
             . Documentation
             " lncludes 1 additional person onsite for 8 weeks.
         Travel& Living Budget                                        $33,420

        Annual Software Maintenance & $upport (First lear)           $18,000

        Total:                                                       $37t,720


    5.2 Notes
         r   Price is valid far 14 days from the publication date of this proposal.
         .   Prices based on current scope of work. Changes to scope of work may require
             price changes.
         o   Prices do not include any taxes or import duties {where applicable).
         .   Pricing is based on KLGIs standard Terms and Conditions.
         .   Pricing only includes services, no hardware or other purchases are included.




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     6 Saies Agreement
     6.1 Conditions
     Price:
        o     The quoted is a net price, including freight, packaging, static and erection. Excl.
              federal and/or local taxes.

     Method of payment:
    Baqg Svstem.lmpleme.Etation Payment            Tenng
        .     30 % - Down Payment- Net
        .     60 % - Monthly Progresslve Payments      -   Net 30
        c     10 % - Upon Beneficial Use - Net 30
        .     Payable within 30 days

    Delivery:
        o  Delivery date is to be in accordance with a mutually agreed upon schedule that is yet
           to be defined.

    Period of   Validity    14 Days

    6.2     Warranty
    Excluding further claims, especially conse-quential damages, the period of warranty for all
    softiryare systems is one year from date of beneficial use.

    6.3       Conditions of Erection / General Points
    When determining the erection prices we assumed that we will be undisturbed in the
    erection procedure and that this will be without any lengthy interuptions due to other
    circumstances arising by the customer. lf such an intenuption is necessary, it has to be
    compensated" During the time of the interruption the customer takes the responsibilig for
    all goods that are located, stored or installed at the site as well as any necessary costs for
    intermediaie storage.

    Electricity, water an{ a. sufficiently large storage area in the immediate vicinity of the
    construction site are to be made available to us by the customer and free of charge. We
    assume that the builder will supply the sanitary facilities.

    The storage area has to be of such a condition that the material stored in this area is not
    damaged.


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    The aocess roads to the $ite and the storage area are to be sufficiently reinforced such that
    it is possible ta use heavy goods vehicles; mobile cranes and fork lift trucks on thern in all
    weather conditions.
    ln cases where the erection is carded out with a rnobile crane, it should be possible for this
    crane to drive into and off lhe slab easily. The builder is to provide, free of charge, an
    access road to the slab that meets our needs.

    At least one week before we start working the site must be in the condition as described
    above.

    When calculating and constructing the slab, the customer must consider the loads that will
    be imposed by the erection crane.

    The oflioading of the conveyor components and any internal transport to the site are
    included in our quotation.

    We are assuming that the unevenness of the floor of the concrete slab will not exceed the
    tolerances that have been laid down in thb FEM Guidelines. lf these tolerances are
    exceeded then it may be necessary to invoioe you separately for, any additional cosF
    incurred,

    Levelling of the floor slab is not included in our quotation.

    A sufficiently large area, directly bordering the erection area, has to be supplied to us for
    the assembly of the material handling system.

    When erecting and aligning the materialhandling installation we willkeep to the tolerances
    that are laid down by the manufacturers.

    At the end of the erection the floor slab is to be cleared that is to say, "swept clean" by our
    erectors.

    A   more thorough cleaning of the floor as well as cleaning of the material handling
    installation is not included within the scope of the supply.




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     6.4 Additional Arlicles
     Proposal No. 8715JK

     Date: May 9,2018

     Effectlve to: May 23; 2018

    This Sales Agreement, hereinafter called "Sales Agreernent," made by and between
    Greater Omaha Packing Co. [nc., hereinafter called "Purchaser," anokueekei iogistics
    Group, 801 West Mnrkey Road, Belton, Missouri hereinafter called "Seller,,'constitutes
    Agreement of the parties as follows:

        6.4.{ ContractDocuments
    ln addilion to the Standard Terms and Conditions set forth in Part B below, the following
    documents {'Additional Contract Documents") qre also part of this Sales Agreement and
    are hereby incorporated by reference herein. To the extent any such Additi"onal Contract
    Document contrains any term or condition inconsistent with the Standard Terms and
    Conditions below, the Standard Terms and Conditions shall govern, with the exception of
    ARTICLE 7 SHIFMENT, and ARTIOLE 14 PUROHASE pilcE; i'nvrrrrillf, where the
    additional contract documents shall supersede ARTICLES 7 and 14. The Additional
    contract Documents, copies of which are appepded hereto, are as follows:

               (1) Kuecker Logistics Group proposal BzlsJK dated May g, 201g,

        6.4.2 Standard Terms and Conditions
    6,4,2.1 Article 1 Definitlons:
    As used in this Sales Agreement, the term ''Equipment" shall mean all the Equlpment,
    machinery parts and other items intended.to bg installed permanenily at the Worksite; the
    term'WorK'shall mean all the Equipment, installation, items and services to be supplied or
    performed by Seller hereunder, including all materials, supplied, drawings ani Cata,
    manufacturing, installatisn and other services, specified in this Sales Agreerient; the term
    "Purchase Price" shall mean the compensation to be paid to the Seller in consideration for
    the performance of the Work; and the term 'Worksite" shall mean the location or locations
    whele the Equipment is to be installed or which are to be used in the installation of the
    Equipment.

    6.4.2.2 Article 2 Permite:
    Prior to the installation of the Equipment, Purchaser sha.ll procure and pay for all building,
    erection and other licenses, permits, authorizations and inspections reqiririO in connection
    with the Fquipment, as well as but not limited to any engineering fees and/or environmental
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    studies, Seller shall not be responsible for any failure of the Equipment to comply with
    building, electrical or other codes or regulations of local, state or federal agencies or
    authorities.

    6.4.2.3 Article 3 Satuty Devices:
    Guards or safety devices as required by State or local laws are not included in this
    proposal, Allequipment will comply with OSHAstandards,

    6,4.2,4 Article 4 Labor and Perconnel:
    Seller shallfumish all labor and personnel required for the installation of the Equipment at
    the Worksite where labor is included in the purchase price. The Purchase Price is based
    upon Seller'e employlng labor during regular working hours. Purchaser shall have the
    option to request Seller to employ overtime labor at Purchaser's additional cost and
    expense. Any such request to employ overtime labor shall be made by means of a written
    change order,

    6.4.2"5 Article 5 Subcontractorc and Assignments:
    Seller may aseign or subcontract any of its obligations under this Sales Agreement to any
    supplier, builder or other contractor which Seller and tsuyer mutually consider qualified.
    Without the prior written consent of Seller, Purchaser shall not assign this Sales Agreement
    or any part thereof; provided, however, that, if Seller consents to any assignment, the
    assignee shall, as a conditlon to such assignment, agree to be subject to the terms and
    conditions of this Sales Agreement.

    6.4.2.6 Article 6 Taxes:
    Unless otherwise indicated, the price contains no provision for sales, use, excise, or other
    similar taxes. lt is Purchaser's responsibility to pay any such taxes should any such tax be
    levied upon Seller, lf, in Seller's opinion, Purchaser has neither paid such tax nor
    established to Sellers satlgfaction exemption there from, Seller may pay same and in such
    event Purchaser will reimburse Seller immediately. lf taxes are induded as part of the price
    and the rate or amount of the tax is increased or decreased, Purchaser will pay any
    increased taxes and Seller will give credit to Purchaser for any tax decrease. Seller wiil
    pay such tax when due and shall be reimbursed by Purchaser immediately upon
    notification by Sellen Notwithstanding Article       15:    RESERVATION OF TITLE AND
    SECURITY INTEREST, Purchaser shall be solely responsible for the prompt payment of
    any and all personal property taxes of any kind that may become due or payable with
    respect to the Equipment at any time following delivery thereof to the Worksite.

    6.4.2.7 Article 7 Shipment:
    Unless otherwise indicated, seller shallship the Equipment F.O.B. Purchaser's plant. Seller
    agrees to pay for shipping costs and shall use a mutually agreed upon carrier.

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    6.4.2.8 A,rticle 8 Unloading Charges:
    Unless otherwise indicated, all local transfer and unloading charges are to be paid for by
    Purchaser.

    6.4.2.9 Article 9 Clalms for $hortage:
    Seller will consider no clairn for shortage or errors unless made immediately upon receipt of
    shipment,

    6.4.2.10 Article 10 Site Gonditions and Provisions by Purchaser:
    Purchaser, at its own expense, shall provide at the Worksite reasonable means of access
    to a minimum of one dock door, with the availability of a dock leveler, a completely
    enclosed building to protect Seller's equipment from lhe elements, complelion of water-tight
    roof and such electric current, water, heat, ventilation, light and other ulilities and facilftIes
    required for the installation of the Equipment. ln the event that any elevator or crane
    seMce owned by Purchaser shall be available at the Worksite, Seller may, without charge,
    use any such service for handling of materials during installation. Purchaser shall allow
    Seller access to the Worksite for inspection of compliance to these requirements, prior io
    commencement of the installation,

    Additional provisions and conditions set forth in Attachment A, Site Conditions provided by
    Purchaser, are hereby incorporated by reference herein as part of this Sales Agreement.

    6.4.2.11 Article 11 lnsurance and Risk of Loss:
    Upon delivery sf the Equipment to the Purchaser, Purchaser shall be responsible for and
    shall bear any and all risk of loss of or damage to the Equipment.

    6.4.2.12 Article 12 Changes, Delays:
    At any time prior to final payment, Purchaser may request in writing any substitutions,
    deviations, additions, or deletions (hereinafter refened to as "Changes") in the Equipmeni
    and in the specifications or drawings incorporated in this Sales Agreement. All the'terms
    and conditions of this Sales Agreement shall apply to such Changes. lf Seller's
    performance is materially delayed or prevented by Purchaser, by any such Changes or by
    other causes within contrsl of Purchaser, Purchaser agrees to reimburse Selbr for
    expenses incident to such delay including, without limitation, the costs of storing,
    maintaining, repairing, and refurbishing Equipment, demurrage, labor and material
   escalation and pullout charges. ln such event, Purchaser also agrees to excuse the delay
   and accept Seller's performance at an appropriately defened completion date. Where
   $eller's performance under this Sales Agreement is delayed as above, the purchase price
   shall be revised based upon labor wage rates, rnaterial costs and other conditions
   prevailing at the tirne of actual performance. lf the changes or delays made by purchaser
   can be established as resulting in any reduced cost to Seller, Purchaser will be credited

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    with the amount of such reduction          The amount, if any, of such reduction shall         be
    determined by Seller.

    6.4.2.13 Article ,l3 Delivery;
    Delivery promises are based on the present promises of $eller's suppliers and vendors.
    Seller will not be held liable for delays caused by such suppliers and vendors. All deliveries
    are subject to change required by governmental restrictions and priorities.

    8.4.2.14 Article 14 Purchase Price; Payment:
    ln consideration of the perfbrmance of the Work, Purchaser shall pay to Seller the
    Purchase Price specified in this Sales Agreement.

    Phaee 2 - Base gJsbm lrnnlementation Pavmeql,TR,fmF_
        .   30%-Down Papnent*Net
        r   60 % - Monthly Progresaive Payments      * Net 30
        r   10 %. Upon Beneficial Use * Net 30
        .   Payable within 30 days

    $hould Purchaser inform Seller of any deficiencies prior to thirly (30) days from completion
    of installation, the amount of the retainer necessary to correct the claimed deficiencies will
    be mutually determined and Purchaser wiil pay the retainer down to the determined
    amount. When the stated deficiencids are corrected, purchaser will pay remaining retainer
    balance to seller,

    1gA% of freight upon delivery-Net 30 (unless collect, then billed direct.)

    6.4.2.15 Artlcle l5 Reservation of Title and $ecurity lnbrest:
    Notwithstanding the transfer of possession by Seller to Purchaser and without affecting the
    passage of the risk of loss to Purchaser as provided in Article 11: INSURANCE AND RISK
    OF LOSS, $eller retains legaltile to the equipment until 80% paid. ln the event it is ever
    determined by any Court of competent jurisdiction that title has passed to Purchaser,
    Purchaser does hereby grant to $eller a Purchase Money Security lnterest in the
    equipment until full and final payment is made lherefore by Purchaser. lf Seller for any
    rea$on does not retain title to the equipment until fully and finally paid $eller shall have the
    rights of a secured creditor under the Uniform Commercial Code for the jurisdiction
    applicable to this Sales Agreement. Purchaser hereby authorizes Seller to sign and file on
    behalf of Purchaser as the Debtor, any financing staternents or other documents with state
    or local recording offices which may be required to prefect such security interest.

    All rights, title and interest to the software and documentation, if any, provided hereunder
    shall at alltimes remain with Seller. $eller hereby grants Purchaser a non-transferable and
    nonexclusive perpetual license to use all computer softr,vare manufactured and provided by
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             Seller under this Agreement at the site of the Work. Purchaser agrees to use such
            software shictly in cornpliance with the terms of this Agreement, and for the use(s)
            contemplated herein, Even though Purchaser does not become an owner of a copy of the
            sofhruare until it receives title to the Equipment, Seller grants permission for Purchaser to
            exercise the rights of an owner as set forth in 17 USC 117, that is, to make archival or
            backup copies of the software, to adapt it ai necessary for it to run on the Equipment for
'           which it is licensed, and to run it as an aid in maintaining the Equipment, Purchaser
            specifically agrees not to copy the software for any purpose other than those set forth in 17
            USC 117, not to utilize it at any other site, and not to furnish, disclose, or otherwise make
            said software, or any portion thereol available to any third party. Any action by Purbhaser
            in contravention of this provision shall constitute a breach of this contract entitling Seller to
        "   the return of the sofhrare and any and all copies thereof. Furchaser hereby acknowledges
            that Seller shall have the right to specific enforcement of the terms of this provision.

            6.4.2,{6   ^Article 16 Drawings and Specifications:
            Specifications of this proposal and accompanying drawings are the Seller's property,
            loaned to Purchaser for record and information purposes only and are subject to recall at
            any time prior to our final approval of this Sales Agreement.

            6.4.2.17 Article 17 Delayed Payments:
            ln the event that Purchaser fails to make due and punctual payments for the Equipment
            and/or Work as provided herein, interest shall accrue on the amount due and unpaid at the
            rate of one percent (1%) per month for each full calendar month or part thereof during
            which such amount shall be outstanding, such interest to commence to accrue on thi
    .       fifteenth (15th) day after such amounl is due and payable hereunder. lf the interest rate
            provided herein exceeds the maximum interest rate permitted by law, then the interest
            payable shallbe at such maximum permissible rate.

            6.4.2.{8 Article l8 Contingencies:
            ln the event of any condition or contingency, existing or future, which is beyond the
            reasonable control and without the fault or negligence of Seller ("Event of Force Majeure,,)
            which prevents or delays, or materially increases the cost of, the performance Uy Set6r oi
            this Sales Agreement, Seller shall be entitled to an appropriate extension of time for
            performartce of this Sales Agreement and an equitable adjustment in the Purchase price.
            Events of Force Majeure shall include, without lirnitation, acts of God, explosions, fire,
            floods, transport delays, strikes, insurrection, labor disputes and interference by civil or
            military authorities. lf an Event of Force Majeure occurs, Seller shall take measures to
            mitigate and minimize the effect of such Event and to continue with the performance of its
            obligations under this Sales Agreement.




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    6.4.2.19 Article {9 Cancellation:
     (a) This Sales Agreement may be canceled upon the occurrenc€ of any of the following
    events:

    (1)  ln the event that either party shall breach or fail to comply with any provisions of this
    $ales Agreement and such breach or failure shall continue for a period of thirty (30) days
    after the giving of written notice thereof by the other parly, the other party may cancel this
    Sales Agreement immediately upon the giving of notice thereof to the defaulting party.

    (2) Notwithstanding  the foregoing, if Purchaser shall have failed to make any payment due
    under this Sales Agreement within thirty {30) days afrer having been so notified in writing by
    Seller, Seller may cancelthis Sales Agreement immediately after the erpiration of the thirty
    (30) day period by giving notice of such cancellation to Purchaser"

    (b) ln the event of any cancellationof this Sales Agreement by Seller for default on
    Purchasefs part in the payment of any portion of the Purchase Price hereunder, Seller
    shall have allthe rights and remedies afforded by the laws of Kansas.

    The rights and remedies referred to in this Article are cumulative, and Seller shall not be
    required to make an election at any time. Seller shall be entitled to assert its claim of a
    mechanic's lien against the Equipment and the property upon which it is erected.at any time
    before the expiration of the time fixed by law for filing such lien.

    (c) ln the event of any cancellation of this Sales Agreement, Purchaser shall nevertheless
    be obligated to pay Seller an amount equal to Seller's actual cost of performance plus a
    reasonable profit hereunder up to the effective time of the cancellation.

    (d) Except as set forth above, this  Sales Agreement shallnot be subject to cancellation by
    either.party after the date of execution hereof.

    6.4.2.20 Article 20 Warranty:
    The Sellerwill assign any manufacturer's warranty to Purchaser. Seller shall perform all
    workmanship in a workmanlike manner.

    THERE ARE NO OTHER WARRANTIES, EXPRESS OR IMPLIED, INCLUDING BUT NOT
    LIMITED TO ANY WARMNTY OF MERCHANTABILIry OR FITNESS FOR A
    PARTICULAR PURPOSE, OTHER THAN AS SPECIFICALLY SET FORTH HEREIN.

    A.4"2.21 Article 21 Use of lnstalled Portions of the Equipment:
   Whenever, as determined by Seller, the installation of any portion of the Equipment has
   been completed, Seller may make available such portion for Purchaser's use, provided,
   however, that Seller and Purchaser shall mutually agree on the terms and conditions of
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    such use. Except as otherwise agreed by Seller and Purchaser (including where
    appropriate, an adjustment in the Purchase Price and/or schedule otherwise provided for in
    this Sales Agreement), such use shall not interfere with the installation of the remainder of
    the Equipment. Seller shall not be liable for the cosl of repairs, rework or replacement
    which may be required due to ordinary wear and tear resulting from such use.

    6.4.2.22 Article 22 lnsurance by Seller:
    Seller will maintain insurance coveragc covering its operation as follows:
    Comprehensive General Liability - $1,000,000 per occurrence, $ 2,000,000.00 general
    aggregate

    PersonalInjury Liability - $t,000,000 Limit.
    Umbrella- $4,000,000 per occurrence, aggregate $4,000,000
    BusinessAuto - Bodily lnjury & Property Damage - $1,000,000 Combined Single Limit.
    Workefs Compensation - Statutory - Employer's Liability;$500,000 each accident;
    $500,000 each employee;$500,000 Policy Limit

    6.4.2.29 Article 23 Limitation of Liability:
    Notwithstanding any other provision of this Sales Agreement, EXCEPT THE WARRANTY
    PROVISIONS, Seller shall not be liable to Purchaber or anyone claiming through Purchaser
    (a) for any special, indirect, incidental or consequential damages of any kind whatsoever,
    whether such damages arise out of the use, inabili$ to use, failure of, defects in, the
    Equipment or otherwise, or (b) for any charges or expenses of any nature incurred without
    Seller's written consent.

    6.4.2.24 Article 24 lndemnification:
    To the fullest permitted by law, the Contractor (Kuecker) shall indemnify and hold harmless
    Greater Omaha Packing from and against allclaims, damages, losses and expenses,
    arising out of or resulting from perfornance of the Work, provided that such claim, damage,
    loss or expense is attributable to bodily injury, sickness, disease, or death, or to injury tolr'
    destruction of tangible property (other than the Work ilself), but only to the extent caused by
    the negligent acts or omissions of the Gontractor or anyone directly employed by it.

    6.4.2.25 Article 25 Waiver:
    Except as olherwise expressly provided in this Sales Agreement, no fallure on lhe parf of
    either par$ to exercise, and no delay in exercising, any right, privilege, or power under this
    $ales Agreement shall operate as a waiver or relinquishment thereof; nor shall any single
    or partial exercise by either party of any right, privilege or power under this Sales
    Agreement preclude any other or further exercise thereof, or the exercise of any other right,
    privilege or power. Waiver of any party of any breach of any provision of this Sales
    Agreement shall not constitute or be construed as a continuing waiver, or as a waiver of
    any other breach of any provision of this $ales Agreement.
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    6.4.2.26 Article 26 Entire Agreement:
    This instrument, together with any attachments specifically made a part of this agreement
    and any other documents incorporated in such attachments by reference, embodies the
    whole agreement of the parties relating to the subJect matter of this Sales Agreement and
    supersedes any and all prior oral or written specifications, communications and agreements
    by or on behalf of the parlies. This Sales Agreement may not be varied by any purchase
    order, acknowledgment, confirmation, invoice, or shipping document issued by either party.
    Any amendments oi modifications of this Sales Agreement must be in writing and signed
    by purchaser and an officer of seller to be binding.

    6.4.2.27 Article 27 Governing Law:
    This Sales Agreement shall be governed by and interpreted in accordance with the law of
    the State of Nebraska




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     APPROVED AND EXECUTED BY:
     AUTHORIZED FOR PURCHASE BY:

                     Greater Omaha Packing



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                      LD


     Title



     AUTHORIZED FOR SELLER BY:

                     Kuecker Logistics G        p, lnc.


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     Title                             Date




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 Addendum to Kuecker Logistics Group {ASPEN Replacement) Proposal (S8715JK dated 5/9/2018}

 Greater Omaha Packing Co. iGOP) is undertaking a major project involving the design, construction and
 integration of an on-site automated box storage, retrieval and loading system for its fresh products
 produced at its Omaha, NE beef processing facility. The success of the Facility Box Storage System
 Project #8214 R6 {Project) will also depend on successfully csmpleting the Floor 2 Project as set forth in
 Project #8453JK R1 (Floor 2 Project) and providing software and engineering services to add the
 required functionality to replace portions of GOP's ASPTN software Warehouse functionality as more
 fully described in the ASPTN Replacement Proposal #8715J K)(Proposa l).

 To achieve all of the ASPEN Replacement Proposal 's objectives, including specifications, timelines and,
 ultimately, the full optimization of the integrated material handling system being installed by Kuecker,
 GOP will rely on Kuecker Logistics Group (KLG)to provide software and engineering services to add the
 required functionality to replace portions of GOP's ASPEN software and integrate the software into its
 Warehouse Execution Software (WES) and retire the current ASPEN systems warehouse functlons, as
 more fully described in the Proposal,

 The purpose of this Addendum is to clarify any of GOP's expectations'that may not be fully stated in the
 Proposal and forthe parties to agree to establish a dispute resolution process should any disagreernent
 arise that is not resolved by mutual agreement. Specifically:

      a   KLG acknowledges that 6OP is relying on KLG to design and integrate the ASPEN software
          functionality into the New Automated Box Storage System as described in Sections 2 and 3 of
          the Proposal and that the reference to the New Automated 8ox Storage System includes the
          KeyChain WES software.
      i   KLG shall coordinate the completion and implementation of the ASPEN Replacement Proposal
          with the implementation of the KeyChain WES software.
      a   KLG shall coordinate the completion of the ASPEN Replacement Proposal and the Floor 2
          Project with the dellvery/hand over date as referenced in Section 6.1" of the original Project
          Agreement. which date shall be as soon as is practicable, but no sooner than the date all
          systems and technologies function as described in Section 4 of the original Project Agreement.
      a   KIG agreesthatthis Addendum shall be considered as an additional contract documeni as
          referenced in Section 6,4.1 of the Proposal.
      a   KLG and GOP agree that any dispute overthe terms ofthe ASPEN Replacement Proposal that is
          not resolved by mutual agreement shall be submitted to a single arbitrator in Douglas County,
          Nebraska and be resolved by binding arbitration before such arbitrator in accordance with the
          Commercial Arbitration Rules of the American Arbitration Association, and that judgment upon
          the award rendered bythe arbitrator may be entered in Douglas County District Court.



                         on behalf of GOP by Angelo Fili, Executive Vice President:

                                  t,                  ature and date)

                             behalf of     by Jim Kuecker, VP System Sales

                                                   isignature and date)
